Case 16-10287-CSS Doc81 Filed 02/04/16 Page 1 of 67

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

)
In re: ) Chapter 11
)
HORSEHEAD HOLDING CORP., et al.,! ) Case No. 16-10287 (CSS)
)
Debtors. ) (Jointly Administered)
) Re: Docket No. 17 & 33
)

 

INTERIM ORDER (A) AUTHORIZING
THE DEBTORS TO OBTAIN POSTPETITION
SECURED FINANCING PURSUANT TO SECTION 364 OF THE
BANKRUPTCY CODE, (B) AUTHORIZING THE DEBTORS TO
USE CASH COLLATERAL, (C) GRANTING ADEQUATE PROTECTION
TO THE PREPETITION SECURED PARTIES, (D) SCHEDULING A FINAL
HEARING, AND (E) GRANTING RELATED RELIEF

 

Upon the motion (the “Motion” of the above-captioned debtors and debtors in
possession (collectively, the “Debtors”) for entry of an interim order (this “Interim Order”) and a
final order (the “Final Order’):

(1) authorizing the Debtors to obtain secured postpetition financing up to an

aggregate principal amount of $90,000,000 (the “DIP Facility”) subject to
and pursuant to the terms and conditions set forth in this Interim Order and
the Senior Secured Superpriority Debtor-in-Possession Credit, Security
and Guaranty Agreement, dated as of February [ ], 2016 (substantially in
the form attached hereto as Exhibit1, and as hereafter amended,

supplemented, or otherwise modified from time to time, the “DIP Credit

 

The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Horsehead Holding Corp. (7377); Horsehead Corporation (7346); Horsehead
Metal Products, LLC (6504); The International Metals Reclamation Company, LLC (8892); and Zochem
Inc. (4475). The Debtors’ principal offices are located at 4955 Steubenville Pike, Suite 405, Pittsburgh,
Pennsylvania 15205.

Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion
or the DIP Documents (as defined herein), as applicable.

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Case 16-10287-CSS Doc81 Filed 02/04/16 Page 2 of 67

Agreement”; together with all agreements, documents, and instruments
executed and delivered in connection therewith, as hereafter amended,
supplemented, or otherwise modified from time to time in accordance with
this Interim Order or the Final Order, the “DIP Documents”), among
Horsehead Corporation, The International Metals Reclamation Company,
Inc. (“‘INMETCO”), Horsehead Metal Products, LLC, Zochem Ine.
(“Zochem”) and Horsehead Holding Corp. (as borrowers, the
“Borrowers”), Cantor Fitzgerald Securities, as administrative agent (in
such capacity, together with its permitted successors and assigns, the “DIP
Agent”), and the lenders from time to time a party to the DIP Facility
(collectively, in such capacities, the “DIP Lenders” and, together with the
DIP Agent, in such capacities, the “DIP Parties”);

authorizing and directing the Debtors to execute, deliver, and perform
their respective obligations under the DIP Credit Agreement and the other
DIP Documents and to perform such other and further acts as may be
necessary or appropriate in connection therewith;

authorizing the Debtors to (a) use Cash Collateral (as defined herein) and
proceeds of the DIP Facility consistent with the Budget (as defined
herein), including with respect to any permitted variances provided
therein, and (b) provide adequate protection, solely to the extent provided
herein, to the Prepetition Secured Parties (as defined herein) under: (i)
that certain indenture for the 10.50% senior secured notes due 2017, dated

as of July 26, 2012 (as the same has been and may be amended, restated,

 
 

Case 16-10287-CSS Doc81 Filed 02/04/16 Page 3 of 67

supplemented or otherwise modified from time to time in accordance with
the terms thereof, the “Prepetition Senior Secured Notes Indenture”),
between and among Horsehead Holding Corp., as issuer, the guarantors
party thereto, U.S. Bank National Association, as trustee (in such capacity,
the “Prepetition Senior Secured Notes Indenture Trustee”) and as
collateral agent (in such capacity, the “Prepetition Senior Secured Notes
Collateral Agent”), in the principal amount of $205,000,000 (the
“Prepetition Senior Secured Notes” and holders of such Prepetition Senior
Secured Notes, the “Prepetition Senior Secured Noteholders” and, together
with all security, pledge, mortgages, and guaranty agreements and all
other documentation executed in connection with the Prepetition Senior
Secured Notes, each as amended, supplemented, or otherwise modified,
the “Prepetition Senior Secured Notes Documents”); and (ii) that certain
revolving credit facility, dated as of June 30, 2015, as amended, between
and among Horsehead Corporation, INMETCO and Horsehead Metal
Products, LLC as borrowers, Horsehead Holding Corp. and Chestnut
Ridge Railroad Corp. as guarantors, Macquarie Bank Limited as
administrative agent (in such capacity, the “Prepetition Macquarie Facility
Agent” and, with the Prepetition Senior Secured Notes Collateral Agent,
the “Prepetition Secured Agents”) and as lender (in such capacity, the
“Prepetition Macquarie Facility Lender” and, together with the Prepetition
Macquarie Agent, the “Prepetition Macquarie Facility Parties” and,

together with the Prepetition Senior Secured Noteholders, the “Prepetition

 
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Case 16-10287-CSS Doc81 Filed 02/04/16 Page 4 of 67

Secured Parties”), providing for borrowings of up to $80,000,000 (the
“Prepetition Macquarie Facility” and, together with all security, pledge,
mortgages, and guaranty agreements and all other documentation executed
in connection with the Prepetition Macquarie Facility, each as amended,
supplemented, or otherwise modified, the “Prepetition Macquarie Facility
Documents” and, together with the Prepetition Senior Secured Notes
Documents, the “Prepetition Debt Documents”), solely to the extent of any
diminution in the value of the Prepetition Secured Parties’ respective
interests in the Prepetition Collateral (as defined herein) as of the Petition
Date (as defined herein);

subject to entry of this Interim Order, authorizing the Debtors to refinance
in full obligations outstanding under the Zochem Facility with proceeds of
the DIP Facility and to grant adequate protection, cash collateral, and
other related relief;

granting (i) to the DIP Agent, for the benefit of itself and the DIP Lenders,
priming liens, security interest and pledges on all of the DIP Collateral (as
defined below) pursuant to sections 364(c)(2), (c)(3) and (d) of the
Bankruptcy Code, which Liens shall be senior to all liens, security
interests and pledges, except that such liens, security interests and pledges
shall be junior solely to (a) the Carve-Out, (b) the Macquarie Adequate
Protection Liens, (c) those Macquarie Facility Liens on the Facilities
Priority Shared Collateral (as defined in the Intercreditor Agreement)

securing the Prepetition Macquarie Facility, to the extent such liens are

 
Case 16-10287-CSS Doc81 Filed 02/04/16 Page 5 of 67

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valid and perfected as of the Petition Date, (d) to PNC Bank, N.A.
(“PNC”) cash collateral securing the Zochem letter of credit, the
Horsehead letter of credit, and the cash collateral granted in Paragraph 22
herein, (e) the Permitted Pre-Petition Liens set forth on Schedule 1.01(a)
to the DIP Credit Agreement, and (f) with respect to the DIP Collateral
located in Canada, the Administration Charge provided for in the
Supplemental Order of the Canadian Court (as defined in the DIP
Documents) in an amount not to exceed CAD$100,000, but the DIP
Claims and Liens shall be senior to any other charges granted by the
Canadian Court in the Recognition Proceedings (as defined in the DIP
Documents) and junior to cash collateral securing the Zochem letter of
credit issued by PNC; and (ii) to the DIP Agent, for the benefit of the DIP
Lenders, pursuant to section 364(c)(1) of the Bankruptcy Code, a
superpriority administrative claim;

subject to entry of this Interim Order, authorizing the DIP Agent to
exercise remedies under the DIP Documents upon the occurrence and
during the continuance of an Event of Default (as defined in the DIP
Credit Agreement);

subject to entry of the Final Order, authorizing the Debtors to grant liens
to the DIP Lenders on the proceeds of Avoidance Actions (as defined
herein) but not on the Avoidance Actions themselves;

subject to entry of this Interim Order, and subject to entry of the Final

Order with respect to the Prepetition Senior Secured Notes Parties,

 
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Case 16-10287-CSS Doc81 Filed 02/04/16 Page 6 of 67

waiving the Debtors’ right to surcharge against the DIP Collateral (as
defined herein) or the Prepetition Senior Secured Note Collateral (as
defined herein) pursuant to section 506(c) of title 11 of the United States

Code (the “Bankruptcy Code”) to the extent provided herein;

subject to entry of this Interim Order, and subject to entry of the Final Order with
respect to the Prepetition Senior Secured Notes Parties, waiving any application
of the “equities of the case” exception under section 552(b) of the Bankruptcy
Code to the Prepetition Senior Secured Note Parties, the DIP Agent, and the DIP
Lenders with respect to (i) proceeds, products, offspring or profits of any of the
Prepetition Senior Secured Notes Collateral (as defined herein), including the
Cash Collateral, or the DIP Collateral, as applicable, or (ii) the extension of the
Adequate Protection Liens (as defined herein) to cover proceeds of the Prepetition
Senior Secured Note Collateral;

modifying the automatic stay under section 362 of the Bankruptcy Code to use
cash collateral pledged to secure the letter(s) of credit to fund the draws from time
to time on the letter(s) of credit or to reimburse the issuing bank to reimburse
itself for any draws on the letter(s) of credit from time to time;

scheduling a final hearing (the “Final Hearing”) on the Motion for a date

that is before the twenty-first (21st) day after the Petition Date to consider

entry of the Final Order authorizing the borrowings under, and the
Debtors’ entry into, the DIP Credit Agreement on a final basis and

approval of notice procedures with respect thereto;

 
 

Case 16-10287-CSS Doc81 Filed 02/04/16 Page 7 of 67

(XII) modifying the automatic stay imposed by section 362 of the Bankruptcy
Code to the extent necessary to implement and effectuate the terms of this
Interim Order; and

(XIII) waiving any applicable stay (including under Bankruptcy Rule 6004) and

providing for immediate effectiveness of this Interim Order.

The interim hearing (the “Interim Hearing”) for this Court to consider entry of
this Interim Order granting the relief requested in the Motion having been held by this
Court on February 3, 2016; and upon the record made by the Debtors at the Interim
Hearing (including the First Day Declaration, the Hensler Declaration, and the Torgove
Declaration); and this Court having heard and resolved or overruled all objections to the
relief requested in the Motion; and it appearing that the relief requested on an interim
basis in the Motion is in the best interests of the Debtors, their estates and creditors; and
after due deliberation and consideration and sufficient cause appearing therefor,

IT IS FOUND, DETERMINED, ORDERED AND ADJUDGED, that:

1. The Motion. The Motion is granted on an interim basis as set forth herein. Any
objection to the Motion to the extent not withdrawn or resolved is hereby overruled.

2. Jurisdiction. This Court has core jurisdiction over the above-captioned chapter 11
cases commenced on February 2, 2016 (the “Petition Date”), the Motion, and the parties and
property affected hereby pursuant to 28 U.S.C. §§ 157(b) and 1334 and the Amended Standing
Order of Reference from the United States District Court for the District of Delaware, dated
February 29, 2012. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

3. Notice. Telephonic, facsimile notice or overnight mail notice of the Interim

Hearing and the proposed entry of this Interim Order has been provided to: (a) the Office of the

 
Case 16-10287-CSS Doc81 Filed 02/04/16 Page 8 of 67

United States Trustee for the District of Delaware (the “U.S. Trustee”); (b) the holders of the 50
largest unsecured claims against the Debtors (on a consolidated basis); (c) the United States
Environmental Protection Agency; (d) the state attorneys general for states in which the Debtors
conduct business; (e) the Office of the United States Attorney for the District of Delaware; (f) the
Internal Revenue Service; (g) the Securities and Exchange Commission; (h) counsel to the
Prepetition Macquarie Facility Parties; (i) the Prepetition Senior Secured Notes Indenture
Trustee; (j) the indenture trustee under the Debtors’ 9.00% senior unsecured notes; (k) the
indenture trustee under the Debtors’ 3.80% convertible senior notes; (1) Banco Bilbao Vizcaya
Argentaria, S.A.; (m) counsel to PNC Bank, National Association; (n) counsel for the DIP
Lenders and the Ad Hoc Group of Prepetition Senior Secured Noteholders; (0) all parties known,
after reasonable inquiry, to have asserted a security interest in the Prepetition Collateral; (p)
Richter Advisory Group Inc. in its capacity as proposed information officer in the Debtors’
foreign recognition proceedings; (q) the Financial Services Commission of Ontario (FSCO); (r)
Unifor Local 591G; (s) LIFTCAPITAL Corporation; (t) Liftow Limited; (u) counsel to the DIP
Agent; and (v) any party that has requested notice pursuant to Bankruptcy Rule 2002. Requisite
notice of the Motion and the relief requested thereby and this Interim Order has been provided in
accordance with Bankruptcy Rule 4001, and no other notice need be provided for entry of this
Interim Order.

4. Debtors’ Stipulations (Prepetition Senior Secured Notes Obligations). Without
prejudice to the rights of any other party to assert Claims and Defenses prior to expiration of the
Challenge Period (as defined herein), each Debtor (other than Zochem) admits, stipulates, and

agrees that:

 
Case 16-10287-CSS Doc81 Filed 02/04/16 Page 9 of 67

(a) as of the Petition Date, the each Debtor (other than Zochem) is
unconditionally indebted and liable to the Prepetition Senior Secured Notes Parties (as
defined herein), without defense, counterclaim or offset of any kind, for all of the
obligations under the Prepetition Senior Secured Notes Documents (together with the
Note Guarantees (as defined below), including the $205,000,000 issued pursuant to the
Senior Secured Notes Indenture, plus accrued and unpaid interest and fees in accordance

with the terms of the Prepetition Senior Secured Note Documents, the “Prepetition Senior

 

Secured Notes Obligations”); the Prepetition Senior Secured Notes Obligations are
unconditionally and irrevocably guaranteed by the Subsidiary Guarantors (as defined in
the Prepetition Senior Secured Notes Indenture) (the “Note Guarantees”) and, subject to
certain permitted liens, secured by certain first and second priority security interests in
and liens (collectively, the “Prepetition Senior Secured Notes Liens”) on certain of the
Debtors’ assets described in the Prepetition Senior Secured Notes Documents
(collectively, the “Prepetition Senior Secured Notes Collateral” and, with all assets of the
Debtors and Debtors’ subsidiaries (other than Zochem) subject to security interests and
liens, the “Prepetition Collateral”);

(b) the Prepetition Senior Secured Notes Obligations including, without
limitation, the Note Guarantees, constitute legal, valid, binding, non-avoidable
obligations of each of the Debtors (other than Zochem) and, subject to Paragraphs 4(g)
and 24 hereof, the Prepetition Senior Secured Notes Liens are valid, binding, perfected,
non-avoidable, and enforceable liens on and security interests in the Prepetition Senior

Secured Notes Collateral;

 
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 10 of 67

(c) (i) no portion of the Prepetition Senior Secured Notes Obligations, the
Prepetition Senior Secured Notes Documents, or the transactions contemplated thereby
are subject to contest, attack, objection, recoupment, defense, setoff, counterclaim,
avoidance, recharacterization, reclassification, reduction, disallowance, recovery,
disgorgement, attachment, “claim” (as defined by section 101(5) of the Bankruptcy
Code), impairment, or subordination (whether equitable, contractual, or otherwise) or
other challenge of any kind pursuant to the Bankruptcy Code or applicable
nonbankruptcy law (including without limitation, under sections 502(d) or 548 of the
Bankruptcy Code or under any applicable state Uniform Fraudulent Transfer Act,
Uniform Fraudulent Conveyance Act or similar statute or common law) or any other
applicable U.S. or Canadian law; and (ii) the Debtors (other than Zochem) do not have
any claims, challenges, counterclaims, causes of action, defenses, recoupment,
disgorgement, or setoff rights arising out of, relating to or in connection with the
Prepetition Senior Secured Notes Obligations or the Prepetition Senior Secured Notes
Documents, whether arising under the Bankruptcy Code, applicable nonbankruptcy law,
or any other applicable U.S. or Canadian law, on or prior to the date hereof, against the
Prepetition Senior Secured Noteholders, the Prepetition Senior Secured Notes Collateral
Agent or the Prepetition Senior Secured Notes Indenture Trustee (together, the
“Prepetition Senior Secured Notes Parties”), and, subject to Paragraphs 4(g) and 24
hereof, the Debtors (other than Zochem) each irrevocably waive, for themselves, and
their subsidiaries, any right to challenge or contest in any way the perfection, validity,

and enforceability of the Prepetition Senior Secured Notes Liens or the validity or

10

 
 

Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 11 of 67

enforceability of the Prepetition Senior Secured Notes Obligations and the Prepetition
Senior Secured Notes Documents;

(d) the Prepetition Senior Secured Notes Obligations constitute allowed
claims for all purposes between and against the Debtors’ estates (other than Zochem) and
neither the Prepetition Senior Secured Notes Indenture Trustee nor any Prepetition Senior
Secured Noteholder is required to file a proof of claim with regard to the Prepetition
Senior Secured Notes Obligations or the Prepetition Senior Secured Notes Liens, and any
order entered by this Court in relation to the establishment of a bar date for any claims
(including administrative expense claims) in any of these chapter 11 cases or subsequent
chapter 7 or chapter 11 cases (each, a “Successor Case”) shall not apply to the Prepetition
Senior Secured Notes Parties with respect to the Prepetition Senior Secured Notes
Obligations (including the Prepetition Senior Secured Notes Liens);

(e) the Prepetition Senior Secured Notes Liens, security interests, and rights
granted to the Prepetition Senior Secured Notes Parties pursuant to, and in connection
with, the Prepetition Senior Secured Notes Documents, including the Prepetition Senior
Secured Notes Indenture and that certain Intercreditor Agreement, dated as of June 30,
2015 (as amended, restated, supplemented or otherwise modified, the “Intercreditor
Agreement”) between and among the Prepetition Senior Secured Notes Collateral Agent
and the Prepetition Senior Secured Notes Indenture Trustee, and Macquarie Bank
Limited in its capacity as collateral agent to the Prepetition Macquarie Facility, which
grants first priority liens (subject to permitted liens) over the Shared Collateral (as
defined in the Intercreditor Agreement) other than the Facilities Priority Shared Collateral

to the Prepetition Senior Secured Notes Liens, are, subject to Paragraphs 4(g) and 24

11
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 12 of 67

hereof, valid, binding, perfected, enforceable, non-avoidable liens and security interests
on the Prepetition Senior Secured Notes Collateral, senior in priority over any and all
other liens on the Senior Secured Notes Collateral other than the Prepetition Macquarie
First Priority Liens (as defined herein), subject to any permitted exceptions under the
Prepetition Senior Secured Notes Documents, to the extent such permitted exceptions
were valid, properly perfected, non-avoidable liens senior in priority to the liens and
security interests of the Prepetition Senior Secured Notes Parties on the Petition Date;

(f) certain of the Debtors’ cash (including, without limitation, any and all
accounts referred to in the Debtors’ Motion for Entry of Interim and Final Orders (1)
Authorizing the Debtors to (A) Continue to Operate Their Cash Management Systems,
(B) Honor Certain Prepetition Obligations Related Thereto, (C) Maintain Existing
Business Forms, and (D) Continue to Perform Intercompany Transactions, and (II)
Granting Related Relief [Docket No. 6])] (the “Cash Management Motion”)), other than
with respect to Zochem, and any amounts generated by the collection of accounts
receivable, the exercise of letter of credit rights, the sale of inventory, or other disposition
of the Prepetition Collateral existing as of the Petition Date, the proceeds of any of the
foregoing and the Prepetition Collateral is cash collateral within the meaning of section
363(a) of the Bankruptcy Code (collectively, the “Cash Collateral”) provided that the
Cash Collateral shall not include the PNC L/C Cash Collateral (as defined herein), the
Payoff Indemnity Account (as defined herein), and the rights of PNC to charge the
Debtors’ deposit accounts for applicable fees and charges in accordance with applicable
depository account agreements and/or cash management agreements (collectively, “PNC

Cash Collateral’); and

12
 

Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 13 of 67

(g) the Prepetition Senior Secured Noteholders hold legal, valid, binding and
enforceable liens securing certain real property located in Mooresboro, North Carolina,
granted pursuant to that certain Future Advances Deed of Trustee, Assignment of Rents
and Leases and Financing Statement from Horsehead Metal Products Inc. to First
American Title Insurance Company, Inc. for the benefit of U.S. Bank N.A., as collateral
agent, dated as of October 22, 2012 and any subsequently filed mortgages (the
“Mooresboro Senior Secured Notes Lien”), and any claims brought with respect to the
Mooresboro Senior Secured Notes Lien (the “Retained Claims”) are subject to the
Retained Claims Challenge Period (as defined herein).

5. Debtors’ Stipulations (Zochem Facility). Without prejudice to the rights of any
other party to assert Claims and Defenses prior to expiration of the Challenge Period, each
Debtor admits, stipulates, and agrees that:

(a) as of the Petition Date, Zochem, as borrower, and Horsehead Holding, as
guarantor, are unconditionally indebted and liable, without defense, counterclaim or
offset of any kind, for all of the obligations under the Zochem Facility, totaling not less
than $18,519,100.18, plus accrued and unpaid interest and fees in accordance with the
terms of the Zochem Credit Agreement (the “Zochem Debt Obligations”) and the Other
Zochem Documents’; the Zochem Debt Obligations are secured by, subject to permitted
liens, certain first priority security interests in and liens on certain of Zochem’s assets as
described in the Zochem Credit Agreement and the Other Zochem Documents

(collectively, the “Zochem Facility Collateral” and, with all assets of Zochem and any of

 

 

The “Other Zochem Documents” means the Other Documents as defined in the Zochem Credit Agreement.

13

 
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 14 of 67

its subsidiaries subject to security interests and liens, the “Zochem Collateral”), pursuant
to the Zochem Credit Agreement and the Other Zochem Documents;

(b) the Zochem Debt Obligations constitute legal, valid, binding, non-
avoidable obligations of each of the Horsehead Holding and Zochem, and the Zochem
Debt Obligations are secured by valid, binding, perfected, non-avoidable, and enforceable
liens on and security interests in the Zochem Collateral;

(c) (i) no portion of the Zochem Debt Obligations, the Zochem Credit
Agreement, or the Other Zochem Documents, or the transactions contemplated thereby
are subject to contest, attack, objection, recoupment, defense, setoff, counterclaim,
avoidance, recharacterization, reclassification, reduction, disallowance, recovery,
disgorgement, attachment, “claim” (as defined by section 101(5) of the Bankruptcy
Code), impairment, or subordination (whether equitable, contractual, or otherwise) or
other challenge of any kind pursuant to the Bankruptcy Code or applicable
nonbankruptcy law (including without limitation, under sections 502(d) or 548 of the
Bankruptcy Code or under any applicable state Uniform Fraudulent Transfer Act,
Uniform Fraudulent Conveyance Act or similar statute or common law) or any other
applicable U.S. or Canadian law; and (ii) Horsehead Holding and Zochem do not have
any claims, challenges, counterclaims, causes of action, defenses, recoupment,
disgorgement, or setoff rights arising out of, relating to, or in connection with, the
Zochem Debt Obligations, the Zochem Credit Agreement, or the Other Zochem
Obligations, whether arising under the Bankruptcy Code, applicable nonbankruptcy law,
or any other applicable U.S. or Canadian law, on or prior to the date hereof, against PNC

Bank, N.A., in its capacity as administrative and collateral agent under the Zochem

14

 
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 15 of 67

Facility (in such capacity, the “Zochem Agent”) and the current and/or prior lenders
under the Zochem Facility as of the Petition Date (the “Zochem Lenders”, and, together
with the Zochem Agent, the “Zochem Secured Parties”), and (iii) the Debtors waive any
right to challenge or contest in any way the perfection, validity, and enforceability of the
liens securing the Zochem Debt Obligations or the validity or enforceability of the
Zochem Debt Obligations, the Zochem Credit Agreement, and the Other Zochem
Documents;

(d) the Zochem Debt Obligations constitute allowed claims for all purposes
between and against Zochem and Horsehead Holdings, and neither the Zochem Agents
nor any Zochem Lender is required to file a proof of claim in any of the Debtors’
chapter 11 cases with regard to the Zochem Debt Obligations or the liens securing such
obligations, and any order entered by this Court in relation to the establishment of a bar
date for any claims (including administrative expense claims) in any Successor Case shall
not apply to the Zochem Agent and the Zochem Lenders with respect to the Zochem Debt
Obligations (including the liens securing such obligations); and

(e) PNC has issued certain letters of credit for the benefit of the Debtors
secured by the PNC L/C Cash Collateral (as defined herein), and holds a first priority,
perfected secured claim in such cash collateral, and PNC is not required to file a proof of
claim in any of the Debtors’ chapter 11 cases with regard to such secured claim and any
order entered by this Court in relation to the establishment of a bar date for any claims
(including administrative expense claims) in any Successor Case shall not apply to the

PNC with respect to such secured claim (including the liens securing such obligations).

15

 
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 16 of 67

6. Debtors’ Stipulations (Prepetition Unsecured Notes Indenture). Without
prejudice to the rights of any other party to assert Claims and Defenses prior to expiration of the
Challenge Period, the Debtors (other than Zochem) admit, stipulate, and agree that:

(a) Pursuant to that certain indenture, dated as of July 29, 2014 (as the same
has been and may be amended, restated, supplemented or otherwise modified from time
to time in accordance with the terms thereof, the “Prepetition Unsecured Notes
Indenture” and, together with all other agreements, instruments, notes, guaranties and
other documents executed in connection therewith, the “Prepetition Unsecured Notes
Documents”), between and among Horsehead Holding Corp., as issuer, the Subsidiary
Guarantors (as defined therein), and U.S. Bank National Association, as trustee (in such
capacity, the “Prepetition Unsecured Notes Indenture Trustee”), Horsehead Holding
Corp. issued the 9.00% senior unsecured notes due 2020 (the “Prepetition Unsecured
Notes” and, the holders of such Prepetition Notes, the “Prepetition Unsecured
Noteholders” and, together with the Prepetition Unsecured Notes Indenture Trustee, the
“Prepetition Unsecured Notes Parties” and, together with the Prepetition Senior Secured
Notes Parties, the “Prepetition Notes Parties”), and as of the Petition Date, $40,000,000
in aggregate principal amount of Prepetition Unsecured Notes, together with any amounts
incurred or accrued but unpaid prior to the Petition Date in accordance with the
Prepetition Unsecured Notes Documents, including but not limited to, accrued and
unpaid interest, any fees, expenses and disbursements as provided under the Prepetition
Unsecured Notes Documents (collectively, the “Prepetition Unsecured Notes
Obligations” and, together with the Prepetition Senior Secured Notes Obligations, the

“Prepetition Notes Obligations”) was outstanding;

16

 
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 17 of 67

(b) (i) the Prepetition Unsecured Notes Obligations constitute legal, valid,
enforceable non-avoidable and binding obligations of Horsehead Holding Corp., as
issuer, and each of the guarantors party thereto; (ii) no offsets, defenses or counterclaims
to the Prepetition Unsecured Notes Obligations exist; (iii) no portion of the Prepetition
Unsecured Notes Obligations is subject to contest, attack, objection, recoupment,
defense, setoff, counterclaim, avoidance, recharacterization, reclassification, reduction,
disallowance, recovery, disgorgement, attachment, “claim” (as defined by section 101(5)
of the Bankruptcy Code), impairment, or subordination (whether equitable, contractual,
or otherwise) or other challenge of any kind pursuant to the Bankruptcy Code, applicable
nonbankruptcy law, or any other applicable U.S. or Canadian law (including without
limitation, under sections 502(d) or 548 of the Bankruptcy Code or under any applicable
state Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act or similar
statute, or common law) or any other applicable U.S. or Canadian law; (iv) the
Prepetition Unsecured Notes Documents are valid and enforceable by the Prepetition
Unsecured Notes Parties against Horsehead Holding Corp. and the Subsidiary Guarantors
(as defined therein); and (v) the Debtors and their estates have no claim, objection,
challenge or cause of action against the Prepetition Unsecured Notes Parties or any of
their respective affiliates, parents, subsidiaries, partners, controlling persons, agents,
attorneys, advisors, professionals, officers, directors and employees, whether arising
under applicable state or federal law (including, without limitation, any
recharacterization, subordination, avoidance or other claims arising under or pursuant to
sections 105, 510 or 542 through 553 of the Bankruptcy Code), arising out of, relating to

or in connection with the Prepetition Unsecured Notes Indenture or the transactions

17

 

 
 

Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 18 of 67

contemplated thereunder or the Prepetition Unsecured Notes Obligations, including
without limitation, any right to assert any disgorgement or recovery;

(c) the Prepetition Unsecured Notes Obligations constitute allowed claims for
all purposes between and against the Debtors’ estates (other than Zochem), and neither
the Prepetition Unsecured Notes Indenture Trustee, nor any Prepetition Unsecured
Noteholder, is required to file a proof of claim with regard to the Prepetition Unsecured
Notes Obligations, and any order entered by this Court in relation to the establishment of
a bar date for any claims (including administrative expense claims) in any of these
chapter 11 cases or any Successor Case shall not apply to the Prepetition Unsecured
Notes Indenture Trustee or the Prepetition Unsecured Noteholders with respect to the
Prepetition Unsecured Notes Obligations.

7. Findings Regarding the DIP Facility and the Use of Prepetition Collateral.

(a) The Debtors require the DIP Facility and the use of Cash Collateral, inter
alia, to repay certain outstanding debt obligations as set forth in the DIP Credit
Agreement (including the Zochem Debt Obligations), for general corporate purposes, to
pay administrative expenses for goods and services in the ordinary course of business in
each case as permitted by the DIP Documents and the Budget (including any permitted
variances), and to pay fees and expenses and other obligations arising from the DIP
Facility and as set forth in the DIP Documents.

(b) The Debtors are unable to obtain financing on more favorable terms and
conditions, both with regard to the DIP Facility itself as well as with regard to support for
the Debtors’ overall restructuring efforts, from sources other than the DIP Lenders

pursuant to, and for the purposes set forth in, the DIP Documents. The Debtors are

18

 
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 19 of 67

unable to obtain unsecured credit allowable under section 503(b)(1) of the Bankruptcy
Code as an administrative expense. The Debtors are also not able to obtain credit secured
by a lien allowable only under sections 364(c)(1), 364(c)(2) and 364(c)(3) of the
Bankruptcy Code without granting the DIP Lenders liens junior to the Macquarie
Adequate Protection Liens and the Prepetition Macquarie First Priority Liens (each as
described herein), and certain other obligations as further described herein, and further
granting the DIP Lenders the DIP Superpriority Claims (as defined herein) on the terms
and conditions set forth in this Interim Order and the DIP Documents. In addition, the
Debtors are unable to obtain credit for borrowed money without the Debtors granting to
the DIP Lenders priming liens under section 364(d)(1) of the Bankruptcy Code over the
Senior Secured Notes Replacement Liens (as defined herein) and the Prepetition Senior
Secured Notes Liens, on the terms and conditions set forth in this Interim Order and the
DIP Documents.

(c) The DIP Lenders have indicated a willingness to provide financing to the
Debtors subject to entry of this Interim Order, and conditioned upon the entry of the Final
Order, including findings that such financing is essential to the Debtors’ estates, the DIP
Lenders are extending credit to the Debtors as set forth in the DIP Facility in good faith,
and that the DIP Superpriority Claims, security interests, liens, rights and other
protections granted to the DIP Lenders and the DIP Agent will have the protections
provided in section 364(e) of the Bankruptcy Code and will not be affected by any
subsequent reversal, modification, vacatur, amendment, reargument or reconsideration of

this Interim Order, the Final Order or any other order.

19

 
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 20 of 67

(d) All of the Debtors have received and will receive fair and reasonable
consideration in exchange for access to the DIP Facility and all other financial
accommodations provided under the DIP Documents and this Interim Order. The terms
of the DIP Documents are fair and reasonable, reflect the Debtors’ exercise of prudent
business judgment consistent with their fiduciary duties, and are supported by reasonably
equivalent value and fair consideration.

(e) The terms of the DIP Documents and the use of the Prepetition Collateral,
including the Cash Collateral, including, without limitation, the interest rates and fees
applicable, and intangible factors relevant thereto, are more favorable to the Debtors than
those available from alternative sources. Based upon the record before this Court, the
DIP Documents have been negotiated in good faith and at arm’s-length among the
Debtors, the DIP Lenders, and the DIP Agent. The DIP Facility and other financial
accommodations made to the Debtors by the DIP Agent and the DIP Lenders pursuant to
the DIP Documents and this Interim Order (collectively, the “DIP Obligations”) shall be
deemed to have been extended by the DIP Agent and the DIP Lenders in good faith, as
that term is used in sections 363(m) and 364(e) of the Bankruptcy Code, and in express
reliance upon the protections set forth therein, and the DIP Agent and the DIP Lenders
shall be entitled to all protections afforded thereby.

(f) Good cause has been shown for immediate entry of this Interim Order
pursuant to Bankruptcy Rule 4001(b)(2) and (c)(2). The authorization granted herein to
enter into the DIP Documents, to continue using Cash Collateral and to obtain funds
under the DIP Facility, including on a priming basis as set forth herein, is necessary to

avoid immediate and irreparable harm to the Debtors and their estates. Entry of this

20

 
 

Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 21 of 67

Interim Order is in the best interests of the Debtors, their estates and creditors because it

will, among other things, allow for access to the financing necessary for the Debtors to,

among other things, maintain business relationships with vendors, suppliers, customers
and other parties, permit the orderly continuation of their businesses and pay for certain
costs and expenses related to the Debtors’ chapter 11 cases.

8. Findings Regarding Adequate Protection.

(a) The DIP Facility contemplated hereby provides for a priming of certain of
the Prepetition Secured Parties’ respective interests in the Prepetition Collateral pursuant to
section 364(d) of the Bankruptcy Code. The Prepetition Secured Parties are entitled to the
adequate protection as set forth herein, including, with respect to the Prepetition Secured Parties,
pursuant to sections 361, 362, 363, and 364 of the Bankruptcy Code. Based on the DIP Motion,
the DIP Motion Declarations and on the record presented to the Court, the terms of the proposed
adequate protection arrangements and the DIP Facility contemplated hereby are fair and
reasonable, reflect the Debtors’ prudent exercise of business judgment, and constitute reasonably
equivalent value and fair consideration for the consent of the Prepetition Secured Parties.

9. Authorization of the DIP Facility and the DIP Documents.

(a) The Debtors are hereby authorized to enter into, deliver, and perform
under, the DIP Documents and, in the case of the Borrowers, to borrow, subject to the
terms and conditions of (1) this Interim Order, (2) the DIP Documents and any related
guarantees as contemplated by the DIP Documents, and (3) the Budget, the DIP Facility
in an aggregate principal amount of $90,000,000 in the increments and for the purposes

set forth in the DIP Documents, including repayment of certain debt obligations and for

2]

 
 

Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 22 of 67

working capital and other general corporate purposes of the Debtors consistent with the
Budget (including permitted variances).

(b) In furtherance of the foregoing and without further approval of this Court,
each Debtor is authorized and directed to perform all acts (and to the extent such acts
have already occurred, such acts are hereby ratified) and to execute and deliver all
instruments and documents that the DIP Lenders and DIP Agent determine to be
reasonably required or necessary for the Debtors’ performance of their obligations under
the DIP Documents including, without limitation:

(i) the execution, delivery and performance of the DIP Documents;

(ii) | the non-refundable payment to the DIP Agent, or the DIP Lenders,
as the case may be, of the fees, expenses, indemnification obligations and other
amounts set forth in the DIP Documents including, without limitation:
(1) 14% interest per annum paid in cash, monthly in arrears on the first day of
each such month; (2) upon the occurrence and during the continuance of any
Event of Default, at the election of the Required Lenders (as defined in the DIP
Documents), interest in cash (a) in the case of principal or interest on any loan at a
rate of 2% per annum plus the rate otherwise applicable to such loan and (b) in the
case of any other amount, at a rate equal to the interest rate applicable to
outstanding loans plus 2% per annum; (3) 4.5% of the aggregate commitments
under the DIP Facility to each DIP Lender upon the Closing Date (x) in cash as a
commitment fee or (y) as original issue discount (the “Commitment Fee”); (4) an
unused commitment fee of 4% per annum of the aggregate unfunded

commitments under the DIP Facility, payable to the DIP Lenders in cash monthly

22
 

Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 23 of 67

in arrears on the first day of each such month; (5) a repayment premium equal to

2.5% of the principal amount of loans under the DIP Facility that are repaid; and

(6) reasonable and documented out of pocket costs and expenses as may be due

from time to time as provided in this Interim Order and in the DIP Documents,

including, without limitation, reasonable attorneys’ fees and other financial
advisory, consultant, “seasoning” and professional fees and disbursements as
provided in the DIP Documents; and

(iii) | the performance of all other acts required under or in connection
with the DIP Documents.

(c) The DIP Documents constitute valid and binding obligations of the
Debtors, enforceable against the Debtors in accordance with the terms of this Interim
Order and the DIP Documents. No obligation, payment, transfer or grant of security by
the Debtors under the DIP Documents (or, as it relates to the DIP Facility, this Interim
Order) shall be subject to contest, attack, objection, recoupment, defense, setoff,
counterclaim, avoidance, recharacterization, reclassification, reduction, disallowance,
recovery, disgorgement, attachment, “claim” (as defined by section 101(5) of the
Bankruptcy Code), impairment, or subordination (whether equitable, contractual, or
otherwise) or other challenge of any kind pursuant to the Bankruptcy Code or applicable
nonbankruptcy law (including without limitation, under sections 502(d) or 548 of the
Bankruptcy Code or under any applicable state Uniform Fraudulent Transfer Act,
Uniform Fraudulent Conveyance Act or similar statute or common law).

10. Budget. Attached as Exhibit 2 hereto and incorporated by reference herein is the

13-week budget setting forth the Debtors’ projected receipts, disbursements and accrued

23

 
 

Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 24 of 67

Professional Fees (as defined herein) (the “Budget”). Subject to the permitted variances as set
forth in the DIP Documents, the use of proceeds of the DIP Facility and Cash Collateral shall in
all cases be used consistently with this Interim Order, the Budget and any permitted variances
therein. The DIP Agent, the DIP Lenders, and the Prepetition Macquarie Facility Lenders shall
have no obligations with respect to the Debtors’ use of the Cash Collateral. The consent of the
DIP Agent and the DIP Lenders to the Budget shall not be construed as consent to the use of any
Cash Collateral during the continuance of an Event of Default, regardless of whether the
aggregate funds shown on the Budget have been expended. The Debtors shall have an obligation
to deliver, on or prior to the third Business Day after (i) the end of every week, a Variance
Report, and (ii) the end of every other week, an updated Budget for the rolling 13-week period
commencing with the first day of the week in which such delivery occurs, subject to any
applicable grace periods provided in the DIP Credit Agreement (but without duplication of such
grace periods); provided that, such updated Budget shall not become the “DIP Budget” for
purposes of the DIP Facility unless such updated Budget is approved by the Required Lenders in
their sole discretion. Notwithstanding anything herein to the contrary, with respect to the
updated Budget to be delivered on or prior to the third Business Day after the tenth week covered
by the initial Budget (subject to any applicable grace period provided in the DIP Credit
Agreement), delivery of an updated Budget that is not satisfactory to the Required Lenders for
whatever reason, in their sole discretion, at such time shall constitute an Event of Default under
the DIP Facility, subject to any applicable grace periods provided in the DIP Credit Agreement
(but without duplication of such grace periods). Notwithstanding anything to the contrary herein
or elsewhere, nothing in this Interim Order nor any other DIP Document shall be construed as a

cap or limitation on the accrued amounts benefitting from the Carve-Out.

24

 
 

Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 25 of 67

11. DIP Claims and Liens. As security for the DIP Obligations, the DIP Lenders are
hereby granted the following claims, liens, security interests, rights, and benefits, in each case,
and notwithstanding anything herein to the contrary in each case subject and subordinate to
(i) the Carve-Out (as defined herein), (ii) the Prepetition Macquarie First Priority Liens, (iii) the
Macquarie Adequate Protection Liens (as defined herein), (iv) the Macquarie Adequate
Protection Claims (as defined herein); and (v) with respect to all DIP Collateral of the Debtors
located in Canada, the Administration Charge (defined below); (including paragraphs (a), (b),
and (c) below, collectively, the “DIP Claims and Liens”):

(a) DIP Superpriority Claims. An allowed superpriority administrative
expense claim pursuant to sections 364(c)(1), 503(b), 507(a), and 507(b) of the
Bankruptcy Code on account of the DIP Obligations (the “DIP Superpriority Claim”),
subject only to the Carve-Out, the Macquarie Adequate Protection Claims, and, with
respect to all DIP Collateral of the Debtors located in Canada, the Administration Charge.
The DIP Superpriority Claim shall be an allowed claim against each of the Debtors
(jointly and severally) with priority over any and all administrative expenses, adequate
protection and other diminution claims (in each case other than the Carve Out, the
Macquarie Adequate Protection Claims, and with respect to all DIP Collateral of the
Debtors located in Canada, the Administration Charge), unsecured claims, and all other
claims asserted against the Debtors now existing or hereafter arising of any kind
whatsoever, including all other administrative expenses of the kind specified in sections
503(b) and 507(b) of the Bankruptcy Code, and over any and all other administrative
expenses or other claims arising under any other provision of the Bankruptcy Code,

including, or ordered pursuant to, sections 105, 326, 327, 328, 330, 331, 503(a), 503(b),

25
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 26 of 67

306(c), 507(a), 507(b), 546, 726, 1113, and 1114 of the Bankruptcy Code, whether or not
such expenses or claims may become secured by a judgment lien or other non-consensual
lien, levy, or attachment, payable from and with recourse to all prepetition and
postpetition property of the Debtors and all proceeds thereof: provided that (x) the DIP
Superpriority Claim will have recourse to proceeds of Avoidance Actions (as defined
herein) only upon entry of the Final Order and (y) the DIP Superpriority Claim will not
have recourse to proceeds of the Excluded Accounts (as defined in the DIP Credit
Agreement).

(b) DIP Liens on DIP Collateral. Except as set forth herein, and pursuant to
sections 364(c)(2), 363(c)(2), and 364(d)(1) of the Bankruptcy Code, a valid, binding,
continuing, enforceable, fully-perfected, non-avoidable, first priority, (i) pledge of (a) all
promissory notes owned by the Debtors and (b) all capital stock owned by the Debtors
and (ii) senior, priming lien on, and security interest in, all property, except as otherwise
set forth herein, whether now owned or hereafter acquired or existing and wherever
located, of each Debtor and each Debtor’s “estate” (as created pursuant to section 541(a)
of the Bankruptcy Code), of any kind or nature whatsoever, real or personal, tangible or
intangible, and now existing or hereafter acquired or created, including, without
limitation, all cash, accounts, inventory, goods, contract rights, instruments, documents,
chattel paper, patents, trademarks, copyrights, and licenses therefor, accounts receivable,
receivables and receivables records, general intangibles, payment intangibles, tax or other
refunds, insurance proceeds, letters of credit, owned real estate, real property leaseholds,
fixtures, deposit accounts, commercial tort claims, securities accounts, instruments,

investment property, letter-of-credit rights, supporting obligations, machinery and

26

 
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 27 of 67

equipment, real property, leases (and proceeds from the disposition thereof), all of the
issued and outstanding capital stock of each Debtor, other equity or ownership interests,
including, without limitation, a first priority priming lien on the equity interests of
Horsehead Zine Recycling, LLC, equity interests in subsidiaries (including non-wholly
owned and non-Debtor subsidiaries), money, investment property, upon entry of the Final
Order, any proceeds of causes of action under chapter 5 of the Bankruptcy Code
(collectively, the “Avoidance Actions,” and, together with the foregoing in clauses (i) and
(ii), the “DIP Collateral”, and the liens, pledges, and security interests granted pursuant to
this Paragraph 11(b), the “DIP Liens”), but the not the Avoidance Actions themselves,
and the DIP Collateral shall further exclude (x) the Excluded Collateral and (y) the PNC
Cash Collateral (including the PNC L/C Cash Collateral"); provided that: (i) the DIP
Liens shall be subordinate to (a) the Carve-Out, (b) the Macquarie Adequate Protection
Liens, (c) the Macquarie Facility Liens on the Facilities Priority Shared Collateral, to the
extent such liens are valid and perfected as of the Petition Date (the “Prepetition
Macquarie First Priority Liens”), (d) certain valid, perfected liens that are senior to the
liens securing the Zochem Facility, the Prepetition Macquarie Facility and the Prepetition
Senior Secured Notes as of the Petition Date, which are set forth on Schedule 1.01(a) to
the DIP Credit Agreement (liens referenced in this clause (d), the “Permitted Prepetition
Liens”), (e) with respect to all DIP Collateral of the Debtors located in Canada, the

Administration Charge provided for in the Supplemental Order of the Canadian Court (as

 

The “PNC L/C Cash Collateral” means cash collateralizing those certain letters of credit issued by PNC
Bank, N.A for the benefit of the Debtors, including but not limited to, that certain Letter of Credit No.
18112064 (HH) and that certain Letter of Credit No. 18112054 (HH), which in the aggregate total not less
than $7,940,197.65 as of the Petition Date, and that certain Letter of Credit No. 18121075 (Zochem), which
totals not less than CAD$422,342.00 as of the Petition Date.

27
 

Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 28 of 67

defined in the DIP Documents) in an amount not to exceed CAD$100,000 (the
“Administration Charge”), but the DIP Liens shall be senior to any other charges granted
by the Canadian Court in the Recognition Proceedings, and (f) the Excluded Collateral.
Notwithstanding the foregoing, however, to the extent that the Prepetition Macquarie
Facility is repaid in full, the DIP Lenders shall be granted a first priority lien on the
Prepetition Macquarie First Priority Liens. In addition, to the extent that the existing
indebtedness of Horsehead Zinc Recycling, LLC is repaid in full, Horsehead Zinc
Recycling, LLC shall become a debtor under these chapter 11 cases and the DIP Lenders
shall be granted a first priority lien on all assets of Horsehead Zinc Recycling, LLC,
subject to customary permitted liens.

(c) DIP Liens Senior to Other Liens. Other than with respect to the Carve-
Out, the Macquarie Adequate Protection Liens, the Prepetition Macquarie First Priority
Liens, the Permitted Prepetition Liens, and Administration Charge, the DIP Liens shall
not be (i) subject or subordinate to (A) any lien or security interest that is avoided and
preserved for the benefit of the Debtors and their estates under section 551 of the
Bankruptcy Code or (B) any liens arising after the Petition Date, or (ii) subordinated to or
made pari passu with any other lien or security interest under sections 363 or 364 of the
Bankruptcy Code or otherwise, or (iii) any liens or deemed trusts that may arise under
statute including without limitation the Pension Benefits Act (Ontario).

(d) Carve-Out. For purposes hereof, the “Carve-Out” shall mean the sum of
(i) all fees required to be paid to the clerk of the Court and to the U.S. Trustee under
section 1930(a) of title 28 of the United States Code plus interest at the statutory rate

(without regard to the notice set forth in (iii) below); (ii) fees and expenses of up to

28

 
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 29 of 67

$50,000 incurred by a trustee under section 726(b) of the Bankruptcy Code (without
regard to the notice set forth in (iii) below); (iii) to the extent allowed at any time,
whether by interim or final compensation order, all unpaid fees and expenses (including
transaction fees or success fees) (the “Professional Fees’) incurred, at any time before or
on the first business day following delivery by the DIP Agent of a Carve-Out Trigger
Notice (as defined herein), by persons or firms (“Borrower Professionals”) retained by
the Borrowers pursuant to section 327, 328 or 363 of the Bankruptcy Code and any
official committee of unsecured creditors (the “Creditors’ Committee” and, together with
the Borrower Professionals, the “Professional Persons”) appointed in these chapter 11
cases pursuant to section 1103 of the Bankruptcy Code, whether allowed by this Court
prior to or after delivery of a Carve-Out Trigger Notice, but only to the extent actually
earned prior to the delivery of a Carve-Out Trigger Notice and not subsequently
disallowed; and (iv) Professional Fees of Professional Persons in an aggregate amount
not to exceed $1,250,000 incurred after the first business day following delivery by the
DIP Agent of the Carve-Out Trigger Notice, to the extent allowed at any time, whether
by interim or final compensation order (the amounts set forth in this clause (iv) being the
“Post-Carve Out Trigger Notice Cap), but only to the extent actually earned after the
delivery of a Carve-Out Trigger Notice and not subsequently disallowed; provided,
however, that nothing herein shall be construed to impair the ability of any party to object
to the reasonableness of any fees, expenses, reimbursement or compensation described in
clauses (iii) or (iv) above, on any grounds. “Carve-Out Trigger Notice” shall mean a
written notice delivered by email (or other electronic means) by the DIP Agent or the

Required Lenders to the Borrowers, their lead restructuring counsel, the U.S. Trustee, and

29
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 30 of 67

lead counsel to the Creditors’ Committee, which notice may be delivered following the
occurrence and during the continuation of an Event of Default and acceleration of the
Obligations under the DIP Facility, stating that the Post-Carve Out Trigger Notice Cap
has been invoked. On the day on which a Carve-Out Trigger Notice is given by the DIP
Agent to the Borrowers, the Carve-Out Trigger shall constitute a demand to the
Borrowers to utilize all cash on hand as of such date and any available cash thereafter
held by any Borrower to fund a reserve in an aggregate amount equal to the accrued
and/or unpaid amounts of the Professional Fees, and the Borrowers shall deposit and hold
any such amounts in a segregated account at the DIP Agent or under the exclusive control
of the DIP Agent in trust to pay such then unpaid Professional Fees (the “Pre-Carve Out
Trigger Notice Reserve”) prior to any and all other claims, including DIP Administrative
Claims. The Borrowers shall deposit and hold such amounts in a segregated account at
DIP Agent or under the exclusive control of the DIP Agent in trust to pay such
Professional Fees benefiting from the Carve Out Trigger Notice Cap (the “Post-Carve
Out_Trigger Notice Reserve” and, together with the Pre-Carve Out Trigger Notice
Reserve, the “Carve-Out Reserves”) prior to any and all other claims, including DIP
Superpriority Claims. All funds in the Pre-Carve Out Trigger Notice Reserve shall be
used first to pay the obligations set forth in clauses (ii) through (iii) of the definition of
Carve-Out set forth above, but not, for the avoidance of doubt, the Post-Carve Out
Trigger Notice Cap, until paid in full, and then, to the extent the Pre-Carve Out Trigger
Notice Reserve has not been reduced to zero, to pay the DIP Agent for the benefit of the
DIP Lenders, unless the obligations under the DIP Facility have been paid in full, in

which case any such excess shall be paid as directed by this Court. All funds in the Post-

30
 

Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 31 of 67

Carve Out Trigger Notice Reserve shall be used first to pay the obligations set forth in
clause (iv) of the definition of Carve-Out set forth above, and then, to the extent the
Post-Carve Out Trigger Notice Reserve has not been reduced to zero, to pay the DIP
Agent for the benefit of the DIP Lenders, unless the DIP Obligations have been paid in
full, in which case any such excess shall be paid as directed by this Court.

(e) Following delivery of a Carve-Out Trigger Notice, the DIP Agent and any
Prepetition Secured Party shall deposit any cash swept or foreclosed upon (including cash
received as a result of the sale or other disposition of any assets) in the Carve-Out
Reserves until such Carve-Out Reserves have been fully funded, and shall have a security
interest in any residual interest in the Carve-Out Reserves, with any excess paid to the
DIP Agent for application in accordance with the DIP Documents. Further,
notwithstanding anything to the contrary herein, (i) disbursements by the Borrowers from
the Carve-Out Reserves shall not constitute loans or increase or reduce the DIP
Obligations, (ii) the failure of the Carve-Out Reserves to satisfy in full the Professional
Fees shall not affect the priority of the Carve-Out, and (iii) in no way shall the Carve-Out,
Post-Carve Out Trigger Notice Cap, Carve-Out Reserves, or any of the foregoing be
construed as a cap or limitation on the amount of the Professional Fees due and payable
by the Borrowers.

(f) Subject to Paragraph 4 herein and with respect to the Investigation Budget,
the Borrowers shall not assert or prosecute, and no portion of the proceeds of the DIP
Facility, the DIP Collateral, or the Carve-Out, and no disbursements set forth in the
Budget, shall be used for the payment of Professional Fees, disbursements, costs or

expenses incurred by any Professional Person, including, without limitation, any

31
 

Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 32 of 67

committee appointed in these chapter 11 cases, in connection with (a) preventing,
hindering or delaying any of the DIP Agent’s, the DIP Lenders’ or the Zochem Secured
Parties’ enforcement or realization upon any of the DIP Collateral once an Event of
Default has occurred, (b) objecting or challenging or contesting in any manner, or raising
any defenses to, the validity, extent, amount, perfection, priority, or enforceability of any
of the obligations under (x) the DIP Facility, the Prepetition Senior Secured Notes, or the
Zochem Facility, (y) the liens securing the DIP Facility, the Prepetition Senior Secured
Notes, or the Zochem Facility, (z) any other rights or interest of any of the DIP Agent, the
DIP Lenders, the Prepetition Senior Secured Noteholders, or the Zochem Secured Parties,
or (c) asserting, commencing or prosecuting any claims or causes of action, including,
without limitation, any Avoidance Actions against the DIP Agent, any DIP Lender, any
Prepetition Senior Secured Noteholder, any Zochem Secured Party, or any of their
respective affiliates, agents, attorneys, advisors, professionals, officers, directors and
employees; provided that, an amount not to exceed $75,000 in the aggregate (the
“Investigation Budget’) of the proceeds of the DIP Facility and the DIP Collateral may
be used for the Creditors’ Committee to investigate (but not prepare, initiate or prosecute)
prepetition liens of, and claims and defenses against, the Prepetition Senior Secured
Noteholders so long as it is utilized prior to the termination of the Challenge Period, it
being understood that the Investigation Budget shall not constitute part of the Carve-Out.
12. Protection of DIP Parties’ and Prepetition Senior Secured Notes’ Rights.

(a) Unless the DIP Agent and DIP Lenders shall have provided prior written
consent, or all obligations under the DIP Documents have been paid in full, there shall

not be entered in these cases, or in any Successor Cases, any order which authorizes the

32

 
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 33 of 67

obtaining of credit or the incurring of indebtedness that is secured by a security,
mortgage, or collateral interest or other lien on all or any portion of the DIP Collateral
and/or that is entitled to administrative priority status, in each case which is senior to or
pari passu with the DIP Liens and/or the DIP Superpriority Claim.

(b) Unless the requisite Prepetition Senior Secured Notes Parties under the
Prepetition Senior Secured Notes Documents shall have provided their prior written
consent, or all obligations under the Prepetition Senior Secured Notes Documents have
been paid in full, there shall not be entered in these cases, or in any Successor Cases, any
order (other than this Interim Order or the Final Order) which authorizes the obtaining of
credit or the incurring of indebtedness that is secured by a security, mortgage, or
collateral interest or other lien on all or any portion of the DIP Collateral and/or that is
entitled to administrative priority status, in each case which is senior to or pari passu with
the Senior Secured Notes Adequate Protection Liens, the Senior Secured Note Adequate
Protection Claims, or the liens under the Prepetition Debt Documents.

(c) The Debtors (and/or their legal and financial advisors in the case of
clauses (a) and (c) below) will, in each case as set forth and subject to the terms of the
DIP Documents, including all applicable grace periods: (a) maintain books, records, and
accounts to the extent and as required by the DIP Documents; (b) reasonably cooperate,
consult with, and provide to the DIP Agent, DIP Lenders, and the Prepetition Senior
Secured Notes Parties all such information and documents as required or allowed under
the DIP Documents, the Prepetition Senior Secured Notes Documents and/or the
provisions of this Interim Order; and (c) grant representatives of the DIP Agent, DIP

Lenders, and the Prepetition Senior Secured Notes Parties reasonable access during

33

 
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 34 of 67

normal business hours and upon reasonable prior notice to information (including

historical information) and personnel as DIP Agent, DIP Lenders, or the Prepetition

Senior Secured Notes Parties may reasonably request from time to time, including,

without limitation, regularly scheduled meetings among senior management, company

advisors and the DIP Agent, DIP Lenders, and the Prepetition Senior Secured Notes

Parties.

13. Proceeds of Subsequent Financing. Subject to the rights of parties with liens or
claims senior to the DIP Claims and Liens (including the Carve Out, the Macquarie Adequate
Protection Claims, and, with respect to all DIP Collateral of the Debtors located in Canada, the
Administration Charge), if at any time prior to the payment in full of all the obligations under the
DIP Documents (including subsequent to the confirmation of any Chapter 11 plan or plans with
respect to any of the Debtors), the Debtors’ estates, any trustee, any examiner with enlarged
powers, or any responsible officer subsequently appointed shall obtain credit or incur debt
pursuant to sections 364(b), 364(c), 364(d), or any other provision of the Bankruptcy Code in
violation of the DIP Documents, then all of the cash proceeds derived from such credit or debt
and all Cash Collateral shall immediately be turned over to the DIP Agent until payment in full
of the obligations under the DIP Documents occurs.

14. Disposition of DIP Collateral. Unless the obligations under the DIP Documents
are paid in full upon the closing of such sale or other disposition, the Debtors shall not sell,
transfer, lease, encumber, or otherwise dispose of any portion of the DIP Collateral (or enter into
any binding agreement to do so) outside the ordinary course of business without the prior written

consent of the DIP Agent and the DIP Lenders (and no such consent shall be implied from any

34

 
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 35 of 67

other action, inaction, or acquiescence by any DIP Agent or DIP Lender or any order of this
Court), except as permitted in the DIP Documents and/or this Interim Order.

15. | Remedies upon Event of Default. The Debtors shall promptly provide notice to
the DIP Agent (with a copy to counsel for the Creditors’ Committee, if any, the information
officer appointed in the Recognition Proceedings and the U.S. Trustee) of the occurrence of any
Event of Default. Upon the occurrence of an Event of Default and following the giving of five
(5) business days’ written notice (the “DIP Enforcement Notice”) to the Debtors, counsel for the
Creditors’ Committee, if any, and the U.S. Trustee (the “DIP Notice Period”), the DIP Lenders
and the DIP Agent may exercise any remedies available to them under this Interim Order, the
DIP Documents, and applicable non-bankruptcy law, including but not limited to foreclosing
upon the DIP Collateral or otherwise enforcing the DIP Obligations and the DIP Claims and
Liens on any or all of the DIP Collateral and/or exercising any other default-related remedies
under the DIP Credit Agreement, this Interim Order or applicable law in seeking to recover
payment of the DIP Obligations. Unless this Court orders otherwise during the DIP Notice
Period (unless such period may be extended by this Court), the automatic stay pursuant to section
362 of the Bankruptcy Code shall be automatically terminated at the end of the DIP Notice
Period, without further notice or order of the Court, and the DIP Lenders and the DIP Agent shall
be permitted to exercise all rights and remedies set forth in this Interim Order, the DIP
Documents, and as otherwise available at law without further order or application or motion to
this Court, and without restriction or restraint by any stay under section 362 or 105 of the
Bankruptcy Code, including, without limitation, (i) immediately terminate the Debtors’ limited
use of any Cash Collateral; (ii) terminate the DIP Facility and any DIP Document as to any

future liability or obligation of the DIP Agent or DIP Lenders, but without affecting any of the

35
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 36 of 67

DIP Obligations or the liens securing the DIP Obligations; (iii) declare all DIP Obligations to be
immediately due and payable; (iv) freeze monies or balances in the Debtors’ accounts; and (v)
immediately set-off any and all amounts in accounts maintained by the Debtors with the DIP
Agent or the DIP Lenders against the DIP Obligations, or otherwise enforce any and all rights
against the DIP Collateral in the possession of any of the applicable DIP Agent or DIP Lenders,
including, without limitation, disposition of the DIP Collateral solely for application towards the
DIP Obligations; provided, however, that PNC shall have no liability to the Debtors, their
estates, or any other lienholder on the deposit accounts for following any direction notice
received from the DIP Agent, provided further, however, that any enforcement action taken
under this Paragraph shall be subject to PNC’s right to receive required fees and charges for
disallowed items as prescribed by the applicable depository account agreements and/or cash
management agreements.

16. Entitlement to Adequate Protection (Prepetition Senior Secured Notes Parties).
The Prepetition Senior Secured Notes Parties are entitled to adequate protection of their interests
in the Prepetition Senior Secured Notes Collateral as of the Petition Date in an amount equal to
the aggregate postpetition diminution in value, if any, of such interests from and after the
Petition Date, consisting of any such diminution resulting from the use by the Debtors of such
Prepetition Collateral, the imposition of the automatic stay pursuant to section 362 of the
Bankruptcy Code, the Debtors’ incurrence of the DIP Facility and the granting of the priming
liens and claims with respect thereto, the subordination of the Prepetition Collateral to the Carve-
Out, and the use of the Cash Collateral pursuant to this Interim Order (such diminution in value,
the “Senior Secured Notes Adequate Protection Obligations”). All distributions made on

account of the Senior Secured Notes Adequate Protection Obligations shall be made and applied

36
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 37 of 67

in accordance with the Prepetition Senior Secured Notes Documents, including the Intercreditor

Agreement. The Prepetition Senior Secured Notes Parties shall be, and hereby are, granted the
following forms of adequate protection:

(a) Senior Secured Notes Adequate Protection Claim. An allowed

superpriority administrative expense claim pursuant to sections 503(b), 507(a), and

507(b) of the Bankruptcy Code as provided for by section 507(b) of the Bankruptcy Code

on account of the Adequate Protection Obligations (as defined herein) (the “Senior

Secured Notes Adequate Protection Claim”). Subject and junior in priority in all respects

to the Carve-Out, the DIP Superpriority Claim, the Administration Charge and the

Macquarie Adequate Protection Claims, and with respect to all DIP Collateral of the

Debtors located in Canada, the Administration Charge, the Senior Secured Notes

Adequate Protection Claim shall be an allowed claim against each of the Debtors (jointly

and severally) with priority over any and all administrative expenses, adequate protection

or diminution claims (in each case other than the Carve-Out, the DIP Superpriority Claim

and the Macquarie Adequate Protection Claims, and with respect to all DIP Collateral of

the Debtors located in Canada, the Administration Charge), unsecured claims, and all

other claims asserted against the Debtors now existing or hereafter arising of any kind

whatsoever, including all other administrative expenses of the kind specified in sections

503(b) and 507(b) of the Bankruptcy Code, and over any and all other administrative

expenses or other claims arising under any other provision of the Bankruptcy Code,

including sections 105, 326, 327, 328, 330, 331, 503(a), 503(b), 507(a), 507(b), 546, 726,

1113, and 1114 of the Bankruptcy Code, whether or not such expenses or claims may

become secured by a judgment lien or other non-consensual lien, levy, or attachment,

37

 
 

Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 38 of 67

payable from and with recourse to all prepetition and postpetition property of the Debtors
and all proceeds thereof. Except to the extent expressly set forth in this Interim Order,
the Prepetition Secured Parties shall not receive or retain any payments, property, or
other amounts in respect of any Senior Secured Notes Adequate Protection Claim unless
and until all DIP Obligations shall have indefeasibly been paid in full in cash or
otherwise satisfied in a manner acceptable to the DIP Lenders and until the Carve-Out
shall have been satisfied as provided herein; provided that the Senior Secured Notes
Adequate Protection Claim shall not have recourse to proceeds from the Excluded
Accounts.

(b) Senior Secured Notes Adequate Protection Liens. Subject and junior in
priority in all respects to the Carve-Out, the Administration Charge, the DIP Liens, the
Permitted Prepetition Liens, the Prepetition Macquarie First Priority Liens and the
Macquarie Adequate Protection Liens (as defined herein), effective as of the Petition
Date and perfected without the necessity of the execution by the Debtors (or recordation
or other filing) of security agreements, control agreements, pledge agreements, financing
statements, mortgages, or other similar documents, or the possession or control by the
Prepetition Senior Secured Notes Secured Parties, the following security interests and
liens are hereby granted to the Prepetition Senior Secured Notes Parties (all such liens
and security interests, the “Senior Secured Notes Adequate Protection Liens”); provided
that the Senior Secured Notes Adequate Protection Liens shall not encumber the
Excluded Collateral or the PNC Cash Collateral;

(i) Liens on Unencumbered Property. Subject and junior in priority in

all respects to the Carve-Out, the DIP Liens, the Administration Charge and the

38
 

Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 39 of 67

Macquarie Adequate Protection Liens, pursuant to sections 361(2) and 363(c)(2)
of the Bankruptcy Code, valid, binding, continuing, enforceable, fully-perfected,
non-avoidable additional and replacement liens on, and security interests in, all
property (including any previously unencumbered property), whether now owned
or hereafter acquired or existing and wherever located, of each Debtor and each
Debtor’s “estate” (as created pursuant to section 541(a) of the Bankruptcy Code),
of any kind or nature whatsoever, real or personal, tangible or intangible, and now
existing or hereafter acquired or created, including, without limitation, all cash,
accounts, inventory, goods, contract rights, instruments, documents, chattel paper,
patents, trademarks, copyrights, and licenses therefor, accounts receivable,
receivables and receivables records, general intangibles, payment intangibles, tax
or other refunds, insurance proceeds, letters of credit, owned real estate, real
property leaseholds, fixtures, deposit accounts, commercial tort claims, securities
accounts, instruments, investment property, letter-of-credit rights, supporting
obligations, machinery and equipment, real property, leases (and proceeds from
the disposition thereof), all of the issued and outstanding capital stock of each
Debtor, other equity or ownership interests, including equity interests in
subsidiaries and non-wholly-owned subsidiaries, money, investment property,
Cash Collateral, and all cash and non-cash proceeds, rents, products, substitutions,
accessions, and profits of any of the collateral described above, documents,
vehicles, intellectual property, securities, partnership or membership interests in
limited liability companies and capital stock, including, without limitation, the

products, proceeds and supporting obligations thereof, whether in existence on the

39
 

Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 40 of 67

Petition Date or thereafter created, acquired, or arising and wherever located (all
such property in each case that is not subject to (x) valid, perfected, unavoidable,
and enforceable liens in existence on or as of the Petition Date or (y) valid and
unavoidable liens in existence immediately prior to the Petition Date that are
perfected after the Petition Date solely to the extent permitted by section 546(b)
of the Bankruptcy Code); provided that, such liens shall encumber the proceeds of
Avoidance Actions (but not the Avoidance Actions themselves) only upon entry
of the Final Order and such liens shall not encumber the Excluded Collateral and
the PNC Cash Collateral.

(ii) Liens Junior to Certain Existing Liens. Subject and junior in
priority in all respects to the Carve-Out, the DIP Liens, the Administration
Charge, and the Macquarie Adequate Protection Liens, a valid, binding,
continuing, enforceable, fully-perfected non-avoidable junior priority replacement
lien on, and security interest in, all property, whether now owned or hereafter
acquired or existing and wherever located, of each Debtor and each Debtor’s
“estate” (as created pursuant to section 541(a) of the Bankruptcy Code), property
of any kind or nature whatsoever, real or personal, tangible or intangible, and now
existing or hereafter acquired or created, including, without limitation, all cash,
accounts, inventory, goods, contract rights, instruments, documents, chattel paper,
patents, trademarks, copyrights, and licenses therefor, accounts receivable,
receivables and receivables records, general intangibles, payment intangibles, tax
or other refunds, insurance proceeds, letters of credit, contracts, owned real estate,

real property leaseholds, fixtures, deposit accounts, commercial tort claims,

40
 

Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 41 of 67

securities accounts, instruments, investment property, letter-of-credit rights,
supporting obligations, machinery and equipment, real property, leases (and
proceeds from the disposition thereof), all of the issued and outstanding capital
stock of each Debtor, other equity or ownership interests, including equity
interests in subsidiaries and non-wholly-owned subsidiaries, money, investment
property, Cash Collateral, and all cash and non-cash proceeds, rents, products,
substitutions, accessions, and profits of any of the collateral described above,
documents, vehicles, intellectual property, securities, partnership or membership
interests in limited liability companies and capital stock, including, without
limitation, the products, proceeds and supporting obligations thereof, whether
now existing or hereafter acquired, that is only subject to (x) valid, perfected, non-
avoidable and enforceable liens in existence immediately prior to the Petition
Date or (y) valid and non-avoidable liens in existence immediately prior to the
Petition Date that are perfected after the Petition Date to the extent permitted by
section 546(b) of the Bankruptcy Code. For the avoidance of doubt, any and all
liens granted as adequate protection to the Prepetition Senior Secured Noteholders
on the Prepetition Collateral shall be junior in all respects to the Carve-Out, the
DIP Liens, the Macquarie Facility Adequate Protection Liens, the Administration
Charge, the Prepetition Macquarie First Priority Liens, and the Permitted
Prepetition Liens.
(c) Right to Seek Additional Adequate Protection. This Interim Order is
without prejudice to, and does not constitute a waiver of, expressly or implicitly, the

rights of the Prepetition Senior Secured Note Parties to request additional forms of

4]
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 42 of 67

adequate protection during the continuation of a Termination Event, or the rights of all

parties (including the Debtors) to oppose such relief.

17. Entitlement to Adequate Protection (Prepetition Macquarie Facility Parties). The
Prepetition Macquarie Facility Parties are entitled to adequate protection of their interests in the
Prepetition Collateral (it being understood that the Prepetition Macquarie Facility Parties’
interests extend to the Cash Collateral) as of the Petition Date in an amount equal to the
aggregate postpetition diminution in value, if any, of such interests from and after the Petition
Date, consisting of any such diminution resulting from the use by the Debtors of such Prepetition
Collateral, the imposition of the automatic stay pursuant to section 362 of the Bankruptcy Code,
the Debtors’ incurrence of the DIP Facility, and the use of the Cash Collateral pursuant to this
Interim Order (such diminution in value, the “Macquarie Facility Adequate Protection
Obligations” and, together with the Senior Secured Notes Adequate Protection Obligations and
the Zochem Adequate Protection Obligations (as defined herein), the “Adequate Protection
Obligations”). For the avoidance of doubt, and notwithstanding anything herein to the contrary,
the Macquarie Facility Adequate Protection Liens and the Macquarie Facility Adequate
Protection Claim (each as defined herein) shall be junior to the Carve-Out and the
Administration Charge in all respects. The Prepetition Macquarie Facility Parties shall be, and
hereby are, granted the following forms of adequate protection:

(a) Macquarie Facility Adequate Protection Claim. Solely in an amount equal
to the aggregate postpetition diminution in value of the Prepetition Macquarie Lenders’
interests in the Prepetition Collateral, an allowed super-priority administrative expense
claim pursuant to sections 503(b), 507(a), and 507(b) of the Bankruptcy Code as

provided for by section 507(b) of the Bankruptcy Code on account of the Macquarie

42

 

 

 
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 43 of 67

Facility Adequate Protection Obligations (the “Macquarie Facility Adequate Protection
Claim”). Subject and junior in priority in all respects only to the Carve-Out, the
Administration Charge, the Macquarie Facility Adequate Protection Claim shall be an
allowed claim against each of the Debtors (jointly and severally) with priority over any
and all administrative expenses and all other claims asserted against the Debtors now
existing or hereafter arising of any kind whatsoever, including all other administrative
expenses of the kind specified in sections 503(b) and 507(b) of the Bankruptcy Code, and
over any and all other administrative expenses or other claims arising under any other
provision of the Bankruptcy Code, including sections 105, 326, 327, 328, 330, 331,
503(b), 507(a), 507(b), or 1114 of the Bankruptcy Code, whether or not such expenses or
claims may become secured by a judgment lien or other non-consensual lien, levy, or
attachment; provided that notwithstanding anything herein to the contrary, the Macquarie
Adequate Protection Claim shall have no recourse to the proceeds of Avoidance Actions
or proceeds from Excluded Collateral or the PNC Cash Collateral.

(b) Macquarie Facility Adequate Protection Liens. Subject and junior in
priority in all respects to the Carve-Out, the Administration Charge, and duly perfected
Permitted Prepetition Liens that are senior to the Prepetition Macquarie First Priority
Liens as of the Petition Date, and without the necessity of the execution by the Debtors
(or recordation or other filing) of security agreements, control agreements, pledge
agreements, financing statements, mortgages, or other similar documents, or the
possession or control by the Prepetition Macquarie Facility Parties, the following security
interests and liens are hereby granted to the Prepetition Macquarie Facility Parties (all

such liens and security interests, the “Macquarie Facility Adequate Protection Liens”) a

43

 
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 44 of 67

valid, binding, continuing, enforceable, fully-perfected, non-avoidable senior priority

replacement lien on, and security interest in, all DIP Collateral; provided that, the

Macquarie Facility Adequate Protection Liens shall not encumber the Avoidance Actions

or proceeds from Avoidance Actions or the Excluded Collateral or the PNC Cash

Collateral.

18. Release. Effective upon entry of the Interim Order as to the DIP Parties and
otherwise subject to the expiration of the Challenge Period, each of the Debtors, and the Debtors’
estates, on its own behalf and on behalf of each of their predecessors, their successors, and
assigns (collectively, the “Releasors”) shall to the maximum extent permitted by applicable law,
unconditionally, irrevocably and fully forever release, remise, acquit, relinquish, irrevocably
waive and discharge each of the DIP Lenders, the DIP Agent, the Zochem Secured Parties, the
Prepetition Senior Secured Notes Parties, and each of their respective former, current, or future
officers, employees, directors, agents, representatives, owners, members, partners, financial
advisors, legal advisors, shareholders, managers, consultants, accountants, attorneys, affiliates,
predecessors and predecessors in interest, each in their capacities as such (collectively, the
“Releasees”) of and from any and all claims, demands, liabilities, responsibilities, disputes,
remedies, causes of action, indebtedness and obligations, rights, assertions, allegations, actions,
suits, controversies, proceedings, losses, damages, injuries, attorneys’ fees, costs, expenses, or
judgments of every type, whether known, unknown, asserted, unasserted, suspected,
unsuspected, accrued, unaccrued, fixed, contingent, pending, or threatened including, without
limitation, all legal and equitable theories of recovery, arising under common law, statute or
regulation or by contract (under U.S. or Canadian laws), of every nature and description that

exist on the date hereof arising out of, relating to, or in connection with any of the (a) Prepetition

44

 
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 45 of 67

Senior Secured Notes Documents or the transactions contemplated under such documents
(subject to the Challenge Period and the Retained Claims Challenge Period), (b) the Zochem
Facility, the Zochem Credit Agreement, and the Other Zochem Documents, and (c) the DIP
Documents or the transactions contemplated under such documents, including, without
limitation, (i) any so-called “lender liability” or equitable subordination claims or defenses, (ii)
any and all claims and causes of action arising under title 11 of the United States Code, and (iii)
any and all claims and causes of action regarding the validity, priority, perfection or avoidability
of the liens of the Prepetition Senior Secured Note Parties, subject to the Retained Claims
Challenge Period.

19. Termination. The Debtors’ right to use the Cash Collateral and proceeds of the
DIP Financing Loans pursuant to this Interim Order shall automatically terminate (the date of
any such termination, the “Termination Date”) (unless such period is extended by the DIP
Lenders) on the occurrence of any of the events set forth in Paragraphs 19(a) through Paragraph
19(b) below (unless waived by the DIP Lenders or Macquarie, as applicable) (the events set forth
in Paragraph 19(a)-19(f) below are collectively referred to herein as the “Termination Events”),
in each case without limiting grace periods provided under the DIP Credit Agreement (but
without duplication of such grace periods):

(a) the Debtors’ failure to comply with the adequate protection provisions or
the covenants and other Adequate Protection Obligations of the Debtors contained in this
Interim Order upon three (3) business day’s written notice and an opportunity cure;

(b) any Event of Default under the DIP Documents that is not waived by the
DIP Lenders. For the avoidance of doubt, such Events of Default include, but are not

limited to, failure by the Debtors to timely achieve any of the following milestones:

45

 
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 46 of 67

(i) Entry of this Interim Order within three (3) days of the Petition
Date;

(ii) Entry of the Interim DIP Recognition Order (as defined in the DIP
Documents) within four (4) days of the Petition Date;

(ii) Entry of the Final Order within twenty-one (21) days of the
Petition Date;

(iv) — Entry of the Final DIP Recognition Order (as defined in the DIP
Documents) within twenty-three (23) days of the Petition Date;

(v) Filing of a plan of reorganization that is acceptable to the Required
Lenders and the Ad Hoc Group, on the one hand, and the Borrowers, on the other
hand (an “Acceptable Plan”) and disclosure statement with respect to the
Acceptable Plan (the “Disclosure Statement”) with this Court within forty (40)
days of the Petition Date;

(vi) — Entry by this Court of an order approving the Disclosure Statement
within seventy-five (75) days of the Petition Date;

(vii) Entry by the Canadian Court (as defined in the DIP Documents) of
an order recognizing the order approving the Disclosure Statement within
seventy-seven (77) days of the Petition Date;

(viii) Entry by this Court of an order confirming the Acceptable Plan
within 115 days of the Petition Date;

(ix) Entry by the Canadian Court of an order recognizing the order

confirming the Acceptable Plan within 117 days of the Petition Date; and

46
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 47 of 67

(x) Consummation of the Acceptable Plan within 130 days of the

Petition Date;

(c) the Maturity Date;

(d) with respect to the updated Budget to be delivered on or prior to the third
business day after the tenth week covered by the initial Budget, delivery of an updated
Budget that is not satisfactory to the Required Lenders for whatever reason, in their sole
discretion;

(e) the Debtors seek any amendment, modification, or extension of this
Interim Order without the prior written consent of the DIP Agent and the DIP Lenders,
and no such consent shall be implied by any other action, inaction, or acquiescence of the
DIP Agent or DIP Lenders;

(f) default shall be made by Borrower or any Guarantor in the due observance
or performance of any term, condition or obligation contained in the DIP Orders, the
Interim DIP Recognition Order or the Final DIP Recognition Order in each case beyond
any grace period for such specific default set forth therein or herein, other than any such
default of an administrative or procedural nature which is cured within 3 days after the
earlier of (x) notice by the Administrative Agent or the Required Lenders or (y)
knowledge of such default by any of the Borrower Parties;

(g) Upon the occurrence and during the continuation of a Termination Event,
upon written notice to the Debtors, the counsel to the DIP Agent, and counsel to the DIP
Lenders (with a copy to counsel to any Committee appointed in the Bankruptcy Cases
and the U.S. Trustee), and upon five (5) Business Days’ prior written notice, Macquarie

may in its sole discretion exercise remedies in accordance with the Macquarie Credit

47

 

 
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 48 of 67

Agreement and this Interim Order (including by collecting accounts receivable and
applying the proceeds thereof to the Prepetition Macquarie Debt Obligations, and by
occupying the Debtors’ premises to sell or otherwise dispose of the DIP Collateral or the
Prepetition Collateral); provided that the Debtors may seek relief from the Court within
such five (5) Business Days period with respect to such Termination Event asserted by
Macquarie.

20. Perfection of DIP Liens and Adequate Protection Liens.

(a) Without regard to the terms of section 362 of the Bankruptcy Code
regarding the automatic stay, the DIP Agent or the Prepetition Secured Agents, as
applicable, are each hereby authorized, but not required, to file or record financing
statements, intellectual property filings, mortgages, notices of lien, or similar instruments
in any jurisdiction in order to validate and perfect the liens and security interests granted
on account of the DIP Liens and the Adequate Protection Obligations hereunder.
Whether or not the DIP Agent or the Prepetition Secured Agents, as applicable, shall, in
their respective sole discretion, file such financing statements, intellectual property
filings, mortgages, notices of lien, or similar instruments, such liens and security interests
shall be deemed valid, perfected, allowed, enforceable, non-avoidable and not subject to
challenge, dispute, subordination, contest, attack, objection, recoupment, defense, setoff,
counterclaim, avoidance, recharacterization, reclassification, reduction, disallowance,
recovery, disgorgement, attachment, “claim” (as defined by section 101(5) of the
Bankruptcy Code), impairment, subordination (whether equitable, contractual or
otherwise) or other challenge of any kind pursuant to the Bankruptcy Code or applicable

nonbankruptcy law as of the date of entry of this Interim Order. If the DIP Agent or the

48
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 49 of 67

any of the Prepetition Secured Agents, as applicable, determines to file any financing

statements, notice of liens or similar instruments, the Debtors will cooperate and assist in

any such filings as reasonably requested by the DIP Agent or the Prepetition Secured

Agents and the automatic stay shall be modified to allow such filings.

(b) DIP Agent or the Prepetition Secured Agents as applicable, may, in their
discretion, cause a certified copy of this Interim Order to be filed with or recorded in
filing or recording offices in addition to or in lieu of such financing statements,
mortgages, notices of lien or similar instruments, and all filing offices are hereby
authorized to accept such certified copy of this Interim Order for filing and recording.

21. Subject to the terms and conditions of the DIP Documents, the Debtors shall
promptly execute and deliver to the DIP Agent or the Prepetition Secured Agents, as applicable,
all such agreements, financing statements, instruments and other documents as the DIP Agent or
the Prepetition Secured Agents, as applicable, may reasonably request in writing to evidence,
confirm, validate, or perfect the DIP Liens and the Adequate Protection Liens, as applicable.

22.  Zochem Payoff.

(a) The Debtors are authorized to and shall pay the Zochem Debt Obligations,
including, without limitation, cash collateralization of the Zochem letters of credit, to the
Zochem Agent and provide certain cash collateral in an amount not to exceed $150,000 as
security for indemnity and expense obligations of the Borrower under the Zochem Credit
Agreement (the “Payoff Indemnity Account”), including all legal fees and expenses of the
Zochem Agent and the right to indemnification of the Zochem Secured Parties incurred or
arising in the Bankruptcy Cases (and the Zochem Secured Parties are permitted to be paid for

such legal fees and expenses from time to time upon submission of a summary invoice to the

49
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 50 of 67

Debtors, the Creditors’ Committee, and the Office of the United States Trustee), and the Zochem
Secured Parties are hereby granted, as adequate protection for such indemnity and expense
obligations, replacement liens (without the necessity of filing any lien perfection documents or
charges) on the DIP Collateral securing the Zochem Debt Obligations including all indemnity
and expense reimbursement obligations under the Zochem Credit Agreement (collectively, the
“Zochem Adequate Protection Liens”) and an administrative claim in each of the Debtors’
chapter 11 cases (“Zochem Adequate Protection Claim” collectively with the Zochem Adequate
Protection Liens, the “Zochem Adequate Protection Obligations”), and the Debtors shall obtain
from the Canadian Court a Recognition Order recognizing the enforceability of this Interim DIP
Order in the Canadian Court; provided that, the (x) the Zochem Adequate Protection Liens shall
be automatically released and of no force and effect and any unused balance held in the Payoff
Indemnity Account shall be promptly released to the Debtors upon expiration of the Challenge
Period where no Challenge has been timely filed with respect to the Zochem Facility and/or the
Zochem Secured Parties and (y) the Zochem Adequate Protection Liens shall be junior in priority
to the DIP Liens, the Prepetition Senior Secured Notes Liens, Senior Secured Notes Adequate
Protection Liens, and any liens that are senior to the DIP Liens (including the Carve Out, the
Macquarie Adequate Protection Liens, and with respect to all DIP Collateral of the Debtors
located in Canada, the Administration Charge) or that are senior to the prepetition liens securing
the Zochem Debt Obligations.

(b) For the avoidance of doubt, repayment of the Zochem Debt Obligations
shall be conditional and subject to disgorgement, in whole or in part, pending expiration of the
applicable Challenge Period with respect to the admissions, stipulations, and agreements set forth

at Paragraph 5 hereof.

50
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 51 of 67

23. Preservation of Rights Granted Under this Interim Order.

(a) Notwithstanding any order dismissing any of these chapter 11 cases under
section 1112 of the Bankruptcy Code or otherwise entered at any time, but subject to the
Carve-Out and the Administration Charge in all respects, (x) the DIP Liens, the DIP
Superpriority Claim, the Adequate Protection Liens, the Zochem Adequate Protection
Liens, the Zochem Adequate Protection Claim, and the other administrative claims
granted pursuant to this Interim Order shall continue in full force and effect and shall
maintain their priorities as provided in this Interim Order until all DIP Obligations and
the Adequate Protection Obligations shall have been indefeasibly paid and satisfied in
full in cash, as applicable, and (y) this Court shall retain jurisdiction, notwithstanding
such dismissal, for the purposes of enforcing the claims, liens, and security interests
referred to in clause (x) above.

(b) If any or all of the provisions of this Interim Order are hereafter reversed,
modified, vacated or stayed, such reversal, stay, modification or vacatur shall not affect:
(i) the validity, priority, or enforceability of the DIP Liens, Zochem Adequate Protection
Liens, or DIP Obligations or any Adequate Protection Obligations incurred prior to the
actual receipt of written notice by counsel to the DIP Agent (with respect to the DIP
Obligations) and counsel to the Prepetition Secured Agents and counsel to the Zochem
Secured Parties, of the effective date of such reversal, stay, modification or vacatur; or
(ii) the validity, priority or enforceability of the DIP Liens and the Adequate Protection
Liens, as applicable. Notwithstanding any such reversal, stay, modification or vacatur,
any use of the Prepetition Collateral (including the Cash Collateral), the DIP Liens, or the

Adequate Protection Obligations incurred by the Debtors hereunder, as the case may be,

51
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 52 of 67

prior to the actual receipt of written notice by counsel to the DIP Agent (with respect to
the DIP Obligations) and counsel to the Prepetition Secured Agents (with respect to the
Adequate Protection Obligations) of the effective date of such reversal, stay, modification
or vacatur shall be governed in all respects by the original provisions of this Interim
Order, and the DIP Lenders, the DIP Agent, the Zochem Secured Parties, and the
Prepetition Secured Parties shall be entitled to all of the rights, remedies, privileges and
benefits granted in section 363(m) of the Bankruptcy Code with respect to all uses of the
Prepetition Collateral (including the Cash Collateral), all Adequate Protection
Obligations, and the DIP Obligations.

(c) Except as expressly provided in this Interim Order, and subject to the
Carve-Out, the Administration Charge, the DIP Liens, the Zochem Adequate Protection
Liens, and the Adequate Protection Liens and all other rights and remedies of the DIP
Lenders, Zochem Secured Parties, and the Prepetition Secured Parties granted by the
provisions of this Interim Order shall survive, and shall not be modified, impaired, or
discharged by the entry of an order converting any of these chapter 11 cases to a case
under chapter 7 of the Bankruptcy Code or dismissing any of these chapter 11 cases. The
terms and provisions of this Interim Order shall continue in these chapter 11 cases and in
any Successor Cases, and the DIP Liens, Zochem Adequate Protection Liens, Zochem
Adequate Protection Claim, and the Adequate Protection Liens, the DIP Superpriority
Claim, and the other administrative claims granted pursuant to this Interim Order, and all
other rights and remedies of the DIP Agent, the DIP Lenders, Zochem Secured Parties,
and the Prepetition Secured Parties granted by the provisions of this Interim Order shall

continue in full force and effect.

52
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 53 of 67

24. Effect of Stipulations. The Debtors’ acknowledgments, stipulations, and releases
set forth in Paragraphs 4, 5, 6, and 18 of this Interim Order (collectively, the “Stipulations”) shall
be binding on the Debtors, the Debtors’ estates, and their respective representatives, successors,
and assigns and, subject to any action timely commenced before the expiration of the Challenge
Period by: (x) the Creditors’ Committee, if any; or (y) a party in interest with requisite standing
other than the Creditors’ Committee, if any, on each of the Debtors’ estates, all creditors thereof
and each of their respective representatives, successors, and assigns, including any trustee
appointed or elected for any of the Debtors, whether such trustee or representative is appointed in
chapter 11 or chapter 7 (a “Trustee’”). The Stipulations contained in this Interim Order, including
in Paragraphs 4 through 6 hereof, shall be binding upon all other parties in interest, including any
Trustee, unless (a) the Creditors’ Committee, if any, or any other party in interest (including any
Trustee), in each case, with requisite standing, has duly filed an adversary proceeding (each, a
“Challenge’”) challenging the validity, enforceability, allowability, priority or extent of the
Prepetition Notes Obligations or the Prepetition Senior Secured Notes Liens, or the Zochem Debt
Obligations or prepetition liens on the Zochem Collateral, as applicable, or otherwise asserting or
prosecuting any Avoidance Actions or any other claims, counterclaims or causes of action,
objections, contests or defenses (collectively, the “Claims and Defenses”) against the Prepetition
Notes Parties or Zochem Secured Parties, as applicable, in connection with any matter related to
the Prepetition Notes Obligations, Prepetition Notes Senior Secured Notes Collateral, or the
Zochem Debt Obligations or the Zochem Collateral, as applicable, by no later than the latest of
(i) in the case of a Challenge commenced by a party in interest other than a Committee, seventy-
five (75) days after the date of entry of this Interim Order, (ii) in the case of a Challenge

commenced by a Creditors’ Committee, sixty (60) days after the appointment of such Creditors’

53
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 54 of 67

Committee, and (iii) any such later date agreed to in writing by (x) the Zochem Agent under the
Zochem Facility, with respect to the stipulations set forth in Paragraphs 5 and Paragraph 18 (with
respect to the Zochem Secured Parties and their related Releasees) hereof, or (y) the Ad Hoc
Group (as defined herein) with respect to the Stipulations set forth in Paragraph 4, 6, and 18
hereof (with respect to all Releasees other than the Zochem Secured Parties and the Zochem
Secured Parties’ related Releasees), as applicable, each in their respective sole and absolute
discretion (the time period established by the latest of the foregoing clauses (i), (ii), and (iii), the
“Challenge Period”); provided, however, that in the event that, prior to the expiration of the
Challenge Period, (x) these chapter 11 cases are converted to chapter 7 or (y) a chapter 11 trustee
is appointed in these chapter 11 cases, then, in each such case, the Challenge Period shall be
extended for a period of sixty (60) days solely with respect to any Trustee, commencing on the
occurrence of either of the events described in the foregoing (x) and (y); and (b) an order is
entered by a court of competent jurisdiction and becomes final and non-appealable in favor of
the plaintiff sustaining any such challenge or claim in any such duly filed adversary proceeding.
If no such Challenge is timely filed prior to the expiration of the Challenge Period, without
further order of this Court (x) the Prepetition Notes Obligations and the Zochem Debt
Obligations, as applicable, shall constitute allowed claims, not subject to any Claims and
Defenses (whether characterized as a counterclaim, setoff, subordination, recharacterization,
defense, avoidance, contest, attack, objection, recoupment, reclassification, reduction,
disallowance, recovery, disgorgement, attachment, “claim” (as defined by section 101(5) of the
Bankruptcy Code), impairment, subordination (whether equitable, contractual or otherwise), or
other challenge of any kind pursuant to the Bankruptcy Code or applicable nonbankruptcy law),

for all purposes in these chapter 11 cases and any subsequent chapter 7 case; (y) the Prepetition

54

 
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 55 of 67

Notes Obligations, the Prepetition Notes Parties, and the Prepetition Senior Secured Notes Liens,
and the Zochem Debt Obligations, Zochem Secured Parties, and the prepetition liens on the
Zochem Collateral, as applicable, shall not be subject to any other or further challenge,
including, without limitation, any Claims and Defenses, which shall be deemed to be forever
waived and barred, and all parties in interest shall be enjoined from seeking to exercise the rights
of the Debtors’ estates, including any successor thereto (including any estate representative or a
Trustee, whether such Trustee is appointed or elected prior to or following the expiration of the
Challenge Period); and (z) all of the findings, the Debtors’ stipulations, waivers, releases, and
affirmations hereunder shall be of full force and effect and forever binding upon the applicable
Debtors’ bankruptcy estates and all creditors, interest holders, and other parties in interest in
these cases and any Successor Cases. If any such adversary proceeding is timely filed prior to
the expiration of the Challenge Period, the stipulations and admissions contained in this Interim
Order, including in Paragraph 4 hereof, shall nonetheless remain binding and preclusive (as
provided in the second sentence of this paragraph) on the Creditors’ Committee, if any, and any
other Person (as defined in the Prepetition Senior Secured Notes Documents) or party in these
cases, including any Trustee, except as to any such findings and admissions that were expressly
and successfully challenged in such adversary proceeding. Notwithstanding anything contained
herein to the contrary, the challenge period as it pertains to any Retained Claims shall be 150
days after the date of entry of this Interim Order (the “Retained Claims Challenge Period”). If
the Retained Claims are not commenced prior to the expiration of the Retained Claims Challenge
Period, the Mooresboro Senior Secured Notes Lien shall be deemed valid and enforceable as
against the Debtors’ bankruptcy estates and all creditors, interest holders and other parties in

these cases and any Successor Cases, and shall not otherwise be avoidable or subject to any other

55

 
 

Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 56 of 67

or further challenge, and such Retained Claims shall be deemed forever waived and barred, and
all parties in interest shall be enjoined from seeking to exercise the rights of the Debtors’ estates,
including any successor thereto (including any estate representative or a Trustee, whether such
Trustee is appointed or elected prior to or following the expiration of the Retained Claims
Challenge Period). Nothing in this Interim Order vests or confers on any Person, including a
Creditors’ Committee (if any) or Trustee, standing or authority to pursue any cause of action
belonging to the Debtors or their estates.

25. Limitation on Charging Expenses Against Collateral. As a further condition of
the DIP Facility and any obligation of the DIP Lenders to make credit extensions pursuant to the
DIP Documents, (a) no costs or expenses of administration of these chapter 11 cases, any
Successor Cases or any other future proceeding that may result therefrom, including liquidation
in bankruptcy or other proceedings under the Bankruptcy Code, shall be charged against or
recovered from the DIP Collateral, the Prepetition Senior Secured Note Collateral or the Cash
Collateral pursuant to section 506(c) of the Bankruptcy Code or any similar principle of law or
equity without the prior written consent of the DIP Agent, the DIP Lender, or, subject to entry of
the Final Order, the Prepetition Senior Secured Notes Parties, as applicable, (b) no such consent
or waiver shall be implied from any further action, inaction, or acquiescence by the DIP Agent,
the DIP Lenders, or the Prepetition Senior Secured Notes Parties, and (c) any exercise of any
rights under section 506(c) of the Bankruptcy Code or otherwise to charge any costs or expense
of administration of the chapter 11 cases or any Successor Cases from or against the DIP
Collateral, the Prepetition Senior Secured Note Collateral or the Cash Collateral shall be
prohibited and shall not impair and shall be subject to, and junior to, the DIP Liens on and the

DIP Agent’s and DIP Lenders’ other interests in the DIP Collateral and the Prepetition Senior

56
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 57 of 67

Secured Note Liens and the Prepetition Secured Parties’ other interests in the Prepetition
Collateral, the Cash Collateral and the Adequate Protection Liens accorded the Prepetition
Secured Parties; provided that the foregoing shall not limit nor be deemed to limit the rights of
the Debtors or parties in interest to seek such a surcharge solely with respect to Prepetition
Macquarie Debt Obligations to the maximum extent permitted by section 506(c) of the
Bankruptcy Code.

26. Limitations under Section 552(b) of the Bankruptcy Code. The Prepetition Senior
Secured Notes Parties (upon entry of the Final Order), the DIP Agent, and the DIP Lenders shall
be entitled to all of the rights and benefits of section 552(b) of the Bankruptcy Code and the
“equities of the case” exception under section 552(b) of the Bankruptcy Code shall not apply to
the Prepetition Senior Secured Notes Parties, the DIP Agent, and the DIP Lenders with respect to
(i) proceeds, products, offspring or profits of any of the Prepetition Senior Secured Notes
Collateral (upon entry of the Final Order) or the DIP Collateral, as applicable, or (ii) the
extension of the Senior Secured Notes Adequate Protection Liens and the Macquarie Facility
Adequate Protection Liens to cover proceeds of the Prepetition Senior Secured Notes Collateral.

27. Credit Bidding. Subject to and upon entry of this Interim Order: (i) the DIP
Agent shall have the right to credit bid as part of any asset sale process or plan sponsorship
process and shall have the right to credit bid the full amount of their claims during any sale of the
Debtors’ assets (in whole or in part), including without limitation, sales occurring pursuant to
section 363 of the Bankruptcy Code or included as part of any restructuring plan subject to
confirmation under section 1129(b)(2)(A)(ii)-(iii) of the Bankruptcy Code; and (ii) the Debtors
acknowledge that the Prepetition Senior Secured Notes Collateral Agent shall have the right to

credit bid as part of any asset sale process or plan sponsorship process and shall have the right to

57
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 58 of 67

credit bid the full amount of their claims during any sale of the Debtors’ assets (in whole or in
part) with respect to any asset subject to a duly perfected lien in favor of the Prepetition Senior
Secured Notes Collateral Agent as of the Petition Date, including without limitation, sales
occurring pursuant to section 363 of the Bankruptcy Code or included as part of any
restructuring plan subject to confirmation under section 1129(b)(2)(A)(ii)-(iii) of the Bankruptcy
Code; provided that such relief will be binding on the Debtors’ estates and all parties in interest
upon entry of the Final Order.

28. Marshaling. Subject to entry of the Final Order, none of the DIP Collateral, the
DIP Lenders, the DIP Agent, the Prepetition Senior Secured Notes Collateral or the Prepetition
Senior Secured Noteholders shall be subject to the equitable doctrine of “marshaling” or any
other similar doctrine.

29. Information and Other Covenants. The Debtors shall comply with the reporting
requirements set forth in the DIP Credit Agreement, together with such additional information as
the DIP Agent may reasonably request from time to time. The Debtors shall maintain their cash
management arrangements in a manner consistent with that described in Cash Management
Motion and any successor or final orders with respect thereto.

30. ‘Insurance Policies. Upon entry of this Interim Order, the DIP Agent and the DIP
Lenders shall be, and shall be deemed to be, without any further action or notice, named as
additional insureds and loss payees, as applicable, on each insurance policy maintained by the
Debtors which in any way relates to the DIP Collateral.

31. Expenses and Indemnification. All reasonable and documented out-of-pocket
expenses (including but not limited to reasonable legal fees and expenses (which shall include

the fees and expenses of one primary counsel for each of the DIP Agent, the DIP Lenders and

58

 
 

Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 59 of 67

Greywolf Capital Management, LP (“Greywolf’) and one local counsel in each applicable
Jurisdiction for each of the DIP Agent, the DIP Lenders and Greywolf), reasonable and
documented out-of-pocket fees and expenses of one financial advisor for the DIP Lenders,
reasonable and documented out-of-pocket fees and expenses of one or more operational
consultants for the DIP Lenders, expenses incurred in connection with due diligence and travel,
courier, reproduction, printing and delivery expenses) and administrative fees and “seasoning
fees” of the DIP Agent and its affiliates and the DIP Lenders in connection with the preparation,
execution and delivery, administration, amendment, waiver or modification (including proposed
amendments, waivers or modifications) of the DIP Credit Agreement and the DIP Documents,
whether or not the DIP Facility is successfully consummated, and in connection with the
syndication of the DIP Facility and all collateral appraisals and field exams prepared or
conducted by or on behalf of the DIP Agent or the DIP Lenders are to be paid by the Debtors in
cash promptly upon submission of invoices therefor. In addition, all reasonable and documented
out-of-pocket fees, costs and expenses (including but not limited to reasonable and documented
legal fees and expenses (which shall include the fees and expenses of one primary counsel for
each of the DIP Agent and the DIP Lenders and one local counsel in each applicable jurisdiction
for each of the DIP Agent and the DIP Lenders) and a financial advisor for the DIP Lenders) of
the DIP Agent and the DIP Lenders for workout proceedings, enforcement costs and
documentary taxes associated with the DIP Facility are to be paid by the Debtors in cash
promptly upon submission of invoices therefor. The Debtors shall also reimburse the ad hoc
group of Prepetition Senior Secured Noteholders (the “Ad Hoc Group”) and Greywolf for
reasonable and documented out-of-pocket fees and expenses for one financial advisor, one or

more operational consultants and legal advisors (including one primary counsel for each of the

59

 
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 60 of 67

group and Greywolf, and local counsel in each applicable jurisdiction for the group), and the
obligation of the Debtors to reimburse such fees and expenses shall continue and survive the
termination and payment in full of the DIP Facility, but shall terminate upon payment in full in
cash of all obligations under the Prepetition Senior Secured Notes. All fees and expenses
described above shall be payable by the Debtors whether accrued or incurred prior to, on, or after
the Petition Date; provided that the Debtors shall promptly provide copies of the invoices related
to such fees and expenses to the U.S. Trustee and the U.S. Trustee shall have ten (10) days from
receipt of such invoices to raise an objection. If the U.S. Trustee raises an objection to a
particular invoice, and the parties are unable to resolve any dispute regarding the fees and
expenses included in such invoice, the Court shall hear and determine such dispute. In addition,
the Debtors will indemnify the DIP Lenders, the DIP Agent and their respective affiliates, and
hold them harmless from and against all reasonable and documented out-of-pocket costs,
expenses (including but not limited to reasonable and documented legal fees and expenses) and
liabilities arising out of or relating to the transactions contemplated hereby and any (which shall
include the fees and expenses of one primary counsel for each of the DIP Agent and the DIP
Lenders and one local counsel in each applicable jurisdiction for each of the DIP Agent and the
DIP Lenders, and any additional counsel to the extent reasonably required due to actual or
perceived conflicts) actual or proposed use of the proceeds of any loans made under the DIP
Facility; provided, however, that no such person will be indemnified for costs, expenses or
liabilities to the extent determined by a final, non-appealable judgment of a court of competent
jurisdiction to have been incurred solely by reason of the (x) gross negligence or willful
misconduct of such person (or their related persons) or a (y) a material breach of the obligations

of such person (other than the DIP Agent or any sub-agent thereof) under the DIP Documents.

60

 
 

Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 61 of 67

32. Limitation on Use of the DIP Facility, the DIP Collateral, and the Prepetition
Collateral (Including the Cash Collateral). The Debtors shall use the proceeds of the DIP
Facility and the Prepetition Collateral, including the Cash Collateral, as provided in this Interim
Order, consistent with the Budget (including any permitted variances with respect thereto), and
the DIP Documents. Notwithstanding anything herein or in any other order of this Court to the
contrary, neither the DIP Facility, the DIP Collateral, the Prepetition Senior Secured Note
Collateral, including the Cash Collateral, nor the Carve-Out (other than the Investigation Budget)
may be used to (a) object, contest, or raise any defense to, the validity, perfection, priority, extent
or enforceability of any amount due under the DIP Documents, the Prepetition Senior Secured
Notes Documents, the Zochem Facility, or the liens or claims granted under this Interim Order,
the DIP Documents or Prepetition Senior Secured Note Documents, (b) assert any Claims and
Defenses or any other causes of action against the DIP Agent, the DIP Lenders, the Prepetition
Senior Secured Notes Parties, the Zochem Secured Parties, or their respective agents, affiliates,
subsidiaries, directors, officers, representatives, attorneys or advisors, (c) prevent, hinder or
otherwise delay the DIP Agent’s, the Prepetition Secured Agents’, or the Zochem Secured
Parties’ assertion, enforcement, or realization on the Prepetition Collateral, the DIP Collateral,
the Zochem Collateral, or Zochem Adequate Protection Obligations, as applicable, in accordance
with the DIP Documents, the Prepetition Debt Documents or this Interim Order, (d) seek to
modify any of the rights granted to the DIP Agent, the DIP Lenders or the Prepetition Senior
Secured Note Agent hereunder or under the DIP Documents or the Prepetition Senior Secured
Notes Documents, in the case of each of the foregoing clauses (a) through (d), without such
party’s prior written consent or (e) pay any amount on account of any claims arising prior to the

Petition Date unless such payments are (i) approved by an order of this Court and (ii) permitted

61
 

Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 62 of 67

under the DIP Documents; provided, however, that notwithstanding anything to the contrary
herein, the Debtors shall not be authorized to use the DIP Facility or DIP Collateral to pay fees
or expenses in excess of the Investigation Budget for the Creditors’ Committee, if any, to
investigate Claims and Defenses against the Prepetition Senior Secured Note Parties or the
Prepetition Unsecured Note Parties before the termination of the Challenge Period, or to initiate
or prosecute proceedings or actions on account of any Claims or Defenses against the Prepetition
Senior Secured Note Parties or the Prepetition Unsecured Notes Parties.

33. Draws on Letters of Credit; Modification of Automatic Stay. To the extent there
is one or more draws on the letters of credit issued by PNC to the Debtors, the automatic stay
imposed by section 362 of the Bankruptcy Code is hereby modified to permit PNC to use the
PNC L/C Cash Collateral to fund the draws from time to time on the letter(s) of credit or to
reimburse itself for any draws on the letter(s) of credit from time to time, and any lien on any
such cash collateral shall be discharged without notice to any party including any junior
lienholders.

34. No Standing Granted. Nothing in this Interim Order vests or confers on any
person (as defined in the Bankruptcy Code), including the Creditors’ Committee or any other
statutory committee appointed in these chapter 11 cases, standing or authority to pursue any
Claims and Defenses or other causes of action belonging to the Debtors or their estates with
respect to the Prepetition Debt Documents or any obligations arising thereof.

35. Binding Effect; Successors and Assigns. The provisions of this Interim Order, the
DIP Credit Agreement, and the other DIP Documents shall be binding upon all parties in interest
in the Debtors’ chapter 11 cases and any Successor Cases, including the Prepetition Secured

Parties, any Creditors’ Committee, the Debtors and their respective successors and assigns

62
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 63 of 67

(including any Trustee hereinafter appointed or elected for the estates of any of the Debtors, an
examiner appointed pursuant to section 1104 of the Bankruptcy Code, or any other fiduciary
appointed as a legal representative of any of the Debtors or with respect to the property of the
estate of any of the Debtors), and shall inure to the benefit of the DIP Agent and the Zochem
Secured Parties.

36. Modifications of DIP Documents. The Debtors and the DIP Parties are hereby
authorized to implement, in accordance with the terms of the DIP Documents, any non-material
modifications (including without limitation, any change in the number or composition of the DIP
Lenders or the DIP Agent) of the DIP Documents (other than this Interim Order and the Final
Order) without further notice, motion or application to, order of or hearing before, this Court.
Any material modification or amendment to the DIP Documents shall only be permitted pursuant
to an order of this Court, after being submitted to this Court upon notice to counsel for the
Creditors’ Committee, if any, the U.S. Trustee, the Prepetition Secured Agents and the
Prepetition Unsecured Notes Indenture Trustee, including with respect to any fees or expenses
payable by the Debtors in connection with such modification; provided, however, that any
forbearance from, or waiver of, (a) a breach by the Debtors of a covenant representation or any
other agreement or (b) a default or an Event of Default, in each case under the DIP Documents
shall not require an order of this Court.

37. Limitation of Liability. In determining to make any loan under the DIP Credit
Agreement or in exercising any rights or remedies as and when permitted pursuant to this Interim
Order, the DIP Documents or the Prepetition Senior Secured Note Documents, the DIP Agent,
the DIP Lenders, and the Prepetition Senior Secured Note Parties shall not be deemed to be in

control of the operations of the Debtors or to be acting as a “responsible person” or “owner or

63

 
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 64 of 67

 

operator” with respect to the operation or management of the Debtors (as such terms, or any
similar terms, are used in the United States Comprehensive Environmental Response,
Compensation and Liability Act, 29 U.S.C. §§ 9601 et seq. as amended, or any similar federal or
state statute). Furthermore, nothing in this Interim Order, the DIP Documents, or the Prepetition
Senior Secured Note Documents shall in any way be construed or interpreted to impose or allow
the imposition upon the DIP Agent, the DIP Lenders, or the Prepetition Senior Secured Note
Parties of any liability for any claims arising from the prepetition or postpetition activities of any
of the Debtors.

38. Rights Reserved. Notwithstanding anything herein to the contrary, but subject to
Paragraphs 11-14 hereof, no term or provision of this Interim Order or the Budget shall prejudice
the rights or interests of any party in interest with respect to the Intercreditor Agreement or the
rights of offset or recoupment of any party.

39. Choice of Law; Jurisdiction. The DIP Facility and DIP Documents (and the
rights and obligations of the parties thereto) shall be governed by, and construed and interpreted
in accordance with, the laws of the State of New York, including, without limitation, Sections
5-1401 and 5-1402 of the New York General Obligations Law, and, to the extent applicable, the
Bankruptcy Code, except for certain security documents to be delivered by Zochem, which will
be governed by applicable Canadian law. The Court shall have exclusive jurisdiction with
respect to any and all disputes or matters under, or arising out of or in connection with, either the
DIP Facility or DIP Documents.

40. Controlling Effect of Interim Order. To the extent any provision of this Interim
Order conflicts or is inconsistent with any provision of the Motion or the DIP Documents, the

provisions of this Interim Order shall control.

64
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 65 of 67

41. No Waiver. The failure of the DIP Agent or DIP Lenders to seek relief or
otherwise exercise their respective rights and remedies under this Interim Order, the DIP
Documents, or otherwise (or any delay in seeking or exercising same), shall not constitute a
waiver of any of such parties’ rights hereunder, thereunder, or otherwise. Nothing contained in
this Interim Order shall impair or modify any rights, claims, or defenses available in law or
equity to any Prepetition Notes Party or any of the DIP Agent, DIP Lenders, or the Zochem
Secured Parties. Except as prohibited by this Interim Order, the entry of this Interim Order is
without prejudice to, and does not constitute a waiver of, expressly or implicitly, or otherwise
impair, the ability of the Prepetition Notes Parties or the DIP Agent or DIP Lenders or the
Zochem Secured Parties under the Bankruptcy Code or under non-bankruptcy law to (i) request
conversion of these cases to cases under chapter 7, dismissal of the cases, or the appointment of a
trustee in these cases, (ii) propose, subject to the provisions of section 1121 of the Bankruptcy
Code, any Chapter 11 plan or plans with respect to any of the Debtors, or (iii) except as expressly
provided herein, exercise any of the rights, claims, or privileges (whether legal, equitable, or
otherwise) of the DIP Agent, DIP Lenders, the Prepetition Notes Parties, or the Zochem Secured
Parties, respectively.

42. No Third Party Rights. Except as explicitly provided for herein or in any DIP
Documents, this Interim Order does not create any rights for the benefit of any third party,
creditor, equity holder, or any direct, indirect, or incidental beneficiary. In determining to make
any loan (whether under the DIP Documents or otherwise) or in exercising any rights or
remedies as and when permitted pursuant to this Interim Order or the DIP Documents, the DIP
Agent and DIP Lenders shall not (i) be deemed to be in control of the operations of the Debtors

or (ii) owe any fiduciary duty to the Debtors, their respective creditors, shareholders, or estates.

65
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 66 of 67

43. Jurisdiction. This Court shall retain jurisdiction to enforce the terms of this
Interim Order and to adjudicate any and all matters arising from or related to the interpretation or
implementation of this Interim Order.

44. Zochem’s Obligations. Notwithstanding anything herein to the contrary,
Zochem’s obligations with respect to the DIP Facility, including the DIP Claims and Liens, shall
not exceed $25,000,000.00 pending further order of the Court.

45. Interim Borrowings. Notwithstanding anything herein to the contrary, the
Debtors’ borrowings under the DIP Credit Agreement shall not exceed $38,500,000.00 pending
further order of the Court.

46. Final Hearing. The Final Hearing shall be heard before this Court on
February 22, 2016 at 3:00 p.m., prevailing Eastern Time in Courtroom No. 6 (Fifth Floor) at the
United States Bankruptcy Court, 824 Market Street, Wilmington, DE 19801.

47. Objections. Any objections or responses to entry of the Final Order shall be filed
on or before 12:00 p.m., prevailing Eastern Time, on February 18, 2016, and shall be served on:
(a) the Debtors, 4955 Steubenville Pike, Suite 405, Pittsburgh, Pennsylvania 15205,
Attn: Gary R. Whitaker; (b) proposed counsel for the Debtors, Kirkland & Ellis LLP, 300 North
LaSalle, Chicago, Illinois 60654, Attn: Ryan Preston Dahl, Esq. and Angela M. Snell, Esq.;
(c) proposed co-counsel for the Debtors, Pachulski Stang Ziehl & Jones LLP, 919 North Market
Street, 17th Floor, P.O. Box 8705, Wilmington, Delaware 19899-8705 (Courier 19801),
Attn: Laura Davis Jones, Esq.; (d) counsel to the Prepetition Senior Secured Notes Indenture
Trustee, Waller Lansden Dortch & Davis, LLP, Nashville City Center, 511 Union Street, Suite
2700, Nashville, Tennessee 37219, Attn: Beth E. Vessel; (e) counsel to the Prepetition

Macquarie Facility Agent, Stroock & Stroock & Lavan LLP, Attn: Mark A. Speiser; (f) counsel

66

 
Case 16-10287-CSS Doc 81 Filed 02/04/16 Page 67 of 67

to the Prepetition Unsecured Note Indenture Trustee, Waller Lansden Dortch & Davis, LLP,
Nashville City Center, 511 Union Street, Suite 2700, Nashville, Tennessee 37219, Attn: Beth E.
Vessel; (g) counsel to the DIP Agent, Shipman & Goodwin LLP, One Constitution Plaza,
Hartford, Connecticut 06103, Attn: Nathan Z. Plotkin; (h) counsel to the DIP Lenders, Akin
Gump Strauss Hauer & Held, One Bryant Park, New York, New York 10036, Attn: Michael S.
Stamer and Meredith A. Lahaie; (i) counsel to any statutory committee appointed in these cases;
(j) counsel to PNC Bank, N.A., Blank Rome LLP, 1200 Market Street, Wilmington, Delaware
19801, Attn: Regina Stango Kelbon; (k) counsel to any statutory committee appointed in these
cases; and (1) Office of the United States Trustee, 844 King Street, Suite 2207, Lockbox 35,
Wilmington, Delaware 19801, Attn: Timothy J. Fox, Esq. In the event no objections to entry of
the Final Order are timely received, this Court may enter such Final Order without need for the

Final Hearing.

Dated: © && \\ , 2016 Mor KID.

Wilmington, Delaware UNITED STATES BANKRUPTCY JUDGE

67
